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 1   theWalmart's insiders) attempted to alter the meaning of the tenn "Walmaii Marketplace" to
 2   make its synonymous with Walmaii.com then used this new definition of Marketplace to
 3
     whitewash the misleading statements made by McMillan to investors in FY 17. See evidence
 4
     ofWalmart's illegal conducts.
 5
            451.     Third, the RICO Defendants backpedaled on their original asse1iions that the
 6
 7   rapidly expansion in the total number of Marketplace SKUs onWalmart.com was directly

 8   conelated toWalmart's Marketplace GMV growth which droveWalma1i's Ecommerce GMV

 9   growth and the profitability mix Walmaii's Ecommerce business. The RICO Defendants at­
10
     tempted to alter, mutilate, and/or concealWalmart's previous misleading statements to impair
11
     object's integrity or availability for use in the SEC investigation.
12
            452.    Fourth, as discussed below, the RICO Defendants inse1ied Beal's altered
13
     11/30/16 email along with the purported Marketplace RIF list inWalma1i's OSHA position to
14
15   asse1i their affinnative defense. The RICO Defendants later provided Huynh with a copy of

16   Walmart's OSHA position statement, knowing that once Huynh received it, he would submit
17   it to the SEC. Thus, the RICO Defendants objective was to get Huynh to submit the RICO
18
     Defendants altered documents to the SEC to further diminish Huynh's credibility as a whistle­
19
     blower. The text below proved that David deRube1iis knew of Huynh's meeting with the SEC
20
     in early Oct 2017 and that Huynh intended to share theWalmart's OSHA position statement
21
22   with them.

23          453.    In short, the RICO Defendants perpetrated the above predicate actions in viola­

24   tions 18 U.S.C. § 1512(c)(l) in order to effectuate prong #2 and Goal A of the WSF Coverup
25   Enterprise's illegal coverup scheme.
26
27
28
                                              300
                              COMPLAINT - DEMAND FOR JURY TRIAL
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1
                                                                                                              10/5i17, 4:02 PM
2     Hi Tri• sor,y ab-OUI yesterday, I had a filing dea�ine emergency lhat I
      had me lied up later than I lhought through the later evening, I have an
 3    all day meeting loday bul Y,tial's your avai�bilily lomorrow and
      Thursday? I love the stuff you sent so farI
4
 5
 6
 7
 8

 9
                                                                                          Sorry Td. Judge kepi me in e¢urt !ale inlo Day most da)'> lhls week. I
10                                                                                        can chat an�rne tomorrow beh•:�n 1130 ar-0 four. Let mo know "11al
                                                                                          S()Unds good al yoor end ff that wor!:s
11
12
13
14

15                                                                          The OSHA Investigation
16
17                 454.            As discussed above, the RICO Defendants, specifically, the Law Firm of

18   Payne & Fears and Seth Beal altered Beal's 11/30/16 email then attached the purported Mar­
19   ketplace RIF list then insert them into Walmait's position statement submitted to OSHA. The
20
     RICO Defendant perpetrated this illegal act to purportedly assert Walmart's affirmative de­
21
     fense i.e., Walmart terminated Huynh not because he engaged in protected activity but be­
22
     cause of legitimately and non-retaliat01y reason.
23

24
           Pattern of Racketeering Activity: Witness Tampering-Alter, OR Conceal Document or
25         Object in Violation of 18 U.S.C. § 1512(b)(2)(B)

26         The Elements of 18 U.S.C. § 1512(b)(2)(B)

27         18 U.S.C. § 1512(b)(2)(B) provides that:

28
                                                                      301
                                                      COMPLAINT - DEMAND FOR JURY TRIAL
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1       (b) Whoever knowingly uses intimidation, threatens, or corruptly persuades another per­
        son, or attempts to do so, or engages in misleading conduct toward another person, with
2       intent to
3            (2) cause or induce any person to
4        (B) alter, destroy, mutilate, or conceal an object with intent to impair the object's integrity
         or availability for use in an official proceeding.... shall be fined under this title or impris­
 5       oned not more than 20 years, or both
 6
 7                                   The SEC Investigation Process
 8           455.    In continuation with discussion above, theWalmart's participants through the
 9
     Rescue Squad com1ptly persuades another person (other members of the enterprise or co-con­
10
     spirators), or attempts to do so, or engages in misleading conduct toward another person
11
     (other members of the enterprise or co-conspirators), with intent to cause or induce them to
12

13   alter and/or mutilate documents and/or objects presented to the SEC, Walmart's investors, in­

14   vestment analysts, the Media, politicians, and the American public in order to effectuate

15   prong #2 and Goal A of theWSF Coverup Enterprise' illegal coverup scheme. Below are ex­
16
     amples of the predicate acts of the RICO Defendants.
17
        A.     Caused Matthew Boyle, a member of the enterprise and a Bloomberg News Re­
18             porter, to publish alteration of evidence/facts on numerous occasions: 1) Altered evi­
               dence/facts regarding the total number of Marketplace SKUs onWalmart.com in Jun
19             16, 2017, 2) Altered facts and evidence in his 3/15/18 and 3/16/18 articles to pur­
20             portedly assert the RICO Defendants' Truth on the Market Defense, and 3) Alter
               and/or conceal evidence to coverup upWalmart's artificial inflations of Jet.com
21             FYI? and FY18 sales.
        B.     Caused David deRubertis to file altered fact/evidence regarding the total number of
22
               Marketplace SKUs onWalmaii.com in FYl 7 in Huynh's 3/15/18 complaint.
23      C.     Caused Francine Mckenna to publish online articles on 9/13/17 with altered fact/evi­
               dence regarding the new definition the tennWalmart's Marketplace.
24
        D.     Caused Robe1i Ohmes to publish investment reports onWalmart with altered
25             facts/evidence regarding 1) the total number of SKUs onWalmart Marketplace, 2)
               Walmart's purported new definition ofWalmart Marketplace, and 3 altered facts re­
26
               garding Jet.com FYI7 and FYI8 sales.
27
28
                                               302
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1         E.    CausedWilliam H. Thompson to aclmowledge the receipt ofWalmart's responses
                regarding inventory mark down, customer returns, and Marketplace revenue recog­
2               nition on Aug 7, 2017 to purportedly show thatWalmart's responses was acceptable
3               per GAAP.93

4
          Pattern of Racketeering Activity: Conspiracy94 to Commit 18 U.S.C. § 1512(c)(2); 18
 5        U.S.C. § 1512(c)O); 18 U.S.C. § 1512(b)(2)(B);

6         18 U.S.C. § 1512(k) provides that:
 7        Whoever conspires to commit any offense under this section shall be subject to the same
          penalties as those prescribed for the offense the commission of which was the object of
8
          the conspiracy
9
10             456.   The framework below provides a comprehensive set of tools to prove the exist­
11   ence of an agreement among the RICO Defendants of the WSF Coverup Enterprise to engage
12
     in conspiracy to violate to engage in conspiracy to violate 18 U.S.C. § 1512(c)(2); 18 U.S.C. §
13
     1512(c)(l ); 18 U.S.C. § 1512(b)(2)(B) in violation of 18 U.S.C. § 1512(k) in order to effectu­
14
     ate Prong #2 and #3 i.e., Goal A of the WSF Coverup Enterprise' illegal coverup scheme.
15

16
17
     93
        August 7, 2017, William H. Thompson wrote to Brett Biggs: Dear Mr. Biggs: We have
18   completed our review of your filing.We remind you that the company and its management
19   are responsible for the accuracy and adequacy of their disclosures, notwithstanding any re­
     view, comments, action or absence of action by the staff.
20   94
        A conspiracy is a combination of two or more persons to accomplish a criminal purpose or
     purposes by concerted action. In other words, a conspiracy is a partnership in crime. It is cre­
21   ated by an agreement to commit a crime or crimes. The existence of the agreement may be es­
22   tablished by circumstantial evidence. It may be shown by evidence that the alleged conspira­
     tors were acting in concert in accordance with a common design, United States v. Kissel, 218
23   U.S. 601, 608, 31 S.Ct. 124, 54 L.Ed. 1168; Pinkerton v. United States, 328 U.S. 640, 644, 66
     S.Ct. 1180, 90 L.Ed. 1489; Mendelson v. United States, 61 App.D.C. 127, 130, 58 F.2d 532;
24   Chadwick v. United States, 6 Cir., 141 F. 225, 241; Craig v. United States, 9 Cir., 81 F.2d
     816, 822. Various persons may become members of the conspiracy at different times and may
25   play different roles in it. An individual member of the combination need not be aware of all of
26   its ramifications or be cognizant of the number or identity of all of the other participants. If a
     person knows of its existence and intentionally takes some part in furthering it, he becomes a
27   member of the conspiracy, Mendelson v. United States, supra; Allen v. United States, 7 Cir., 4
     F.2d 688, 699. A conspiracy to commit a crime or crimes is separate and distinct from the
28   substantive offenses
                                                      303
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 1
                Legal Framework to Prove the Existence of an Agreement
 2
 3                   To conceal Walmart's $136 Billion Fraud Against Shareholders
             An agreement could be proved through circumstantial evidence that defendants acted together in pursuit
 4           of a common illegal goal." United States v. Bishop, 1 F.3d 910, 911 (9th Cir. 1 993) (citation omitted)."

 5                          Concerted and interdependence actions
 6   Overt acts: United States v. Alvarez, 837 F2d 1024, 1027 (11th Cir. 1988) (holding that proof of acts committed
     in furtherance of conspiracy may be sufficient to show knowing participation in conspiracy); United States v.
 7   Sarault, 840 F .2d 1479, 1487 (9th Cir. 1988) (holding that overt act need only be concrete step toward carrying out
     agreement, nor one that actually accomplishes goal of conspiracy); It can be a wholly innocent act in and of itself.
 8   See United States v. Masiello, 491 F. Supp. 1154, 1164 (D. S.C. 1980).

 9
                 Concerted Actions                                       Interdependence Actions
10
      An agreement may be either explicit or implicit, and      Cassiere, 4 F.3d at 1015 (holding that agreement can be
      the fact finder may infer an agreement from "a            inferred from "defendants' actions and the
11
      concert of action." United States v. Mann, 161 F.3d       interdependence of activities and persons involved")
      840,847 (5th Cir. 1998).                                  (quoting United States v. Boylan, 898 F .2d 230, 241-42
12                                                              (1st Cir. 1990)); Arutunoff, I F3d at 1116 (holding that
      United States v. Sneed, 63 F.3d 381, 385 (5th Cir.
      1995) ("the jury may infer an agreement from concert      agreement can be inferred if "defendant's conduct [is]
13    of action''). United States v. Reveron Martinez, 836      interdependent with the conduct of other conspirators,"
      F.2d 684, 691 (1st Cir. 1988) (holding proof of           requiring defendant's activities to "facilitate the endeavors
14    conspiracy inferable from concert of activity).           of other conspirators or the venture as a whole")

15
              In U.S. v. Smith 294 F.3d 473 (3d Cir. 2002), the 3rd Circuit found concerted actions to cover up the
16            circumstances of a prisoner's death, is sufficient to prove the existing of an agreement, stating other
              courts of appeals have considered acts of concealment relevant to determining whether a conspiracy
              existed. See, e.g., United States v. Piche, 981 F.2d 706 (4th Cir. 1992); United States v. Bigham, 812 F.2d
17            943 (5th Cir. 1 987); United States v. Davis, 810 F.2d 474 (5th Cir. 1987).
18
              457.     The analyses above showed the existence of an agreement among the RICO
19
     Defendants to violate 18 U.S.C. § l 512(k) because the RICO Defendants acted in concert to
20
     commit multiple predicate acts and overt acts. These acts were interdependence. For exam­
21
22   ple, before Matthew Boyle could published his 3/15/18 and 3/16/18 aiticle, David deRubertis

23   had to insert the $7 Mil customer returns impact into Huynh's complaint and the PR agen­

24   cies had to line up all the experts e.g., professor, industry experts, and fund manager to pur­
25   portedly comment on the immateriality of Huynh's allegations against Walmart's shareholder
26
     fraud conducts) in order to effectuate Goal A (i.e., to obtain a " Get Out of Jail Free" Card
27
     from the SEC and/or the DOJ).
28
                                                                304
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 1      Pattern of Racketeering Activity: Conspiracy to Defraud the United Violation of 18
 2
        u.s.c. § 371
        The Elements of 18 U.S.C. § 371
 3
        18 U.S.C. § 371 provides that:
 4
        If two or more persons conspire either to commit any offense against the United States,
 5      or to defraud95 the United States, or any agency thereof in any manner or for any pur­
        pose, and one or more of such persons do any act to effect the object of the conspiracy,
 6      each shall be fined under this title or imprisoned not more than five years, or both.
 7
 8          458.    The analyses above showed the existence of an agreement among the RICO

 9   Defendants to violate 18 U.S.C. § 371 (defrauding the SEC) because the RICO Defendants
10   acted in concert to commit multiple predicate acts and overt acts and these acts were interde­
11
     pendence. For example, before theWalmart Participant could go on an investor/analyst road
12
     show to whitewash evidence ofWalmart's illegal conducts, David deRubertis must steal and
13
     leak the confidential information in Huynh's SEC submission to the Rescue Squad. In short,
14
15   the RICO Defendants engaged in a conspiracy to defraud the SEC in order to effectuate Goal

16   A i.e., to defraud the SEC in issuing the 4/2/2019 non-enforcement letter againstWalmart.

17

18
19
20
21
22   95 The meaning of "defraud" under § 371 is more capacious than its definition at common law

23   or in the federal mail and wire fraud statutes. See Dennis v. United States, 384 U.S. 855, 861
     (1966) (citing Haas v. Henkel, 216 U.S. 462, 479 (1910)); United States v. Rosengaiien, 857
24   F.2d 76, 78 (2d Cir. 1988). Section 371 reaches beyond "schemes which deprive the govern­
     ment of money or property" to "any conspiracy for the purpose of impairing, obstructing, or
25   defeating *7 the lawful function of any department of Government." United States v.
     Nersesian, 824 F.2d 1294, 1313 (2d Cir. 1987) (second quoting Dennis, 384 U.S. at 861) (in­
26   ternal quotation marks omitted). And, as long as the conspiracy seeks to interfere with a law­
27   ful governmental function, § 371 criminalizes all acts that accomplish that goal "by deceit,
     craft, or trickery, or by means that are dishonest." Nersesian, 824 F.2d at 1313 (citing Ham­
28   merschmidt v. United States, 265 U.S. 182, 188 (1924)).
                                                       305
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1         Pattern of Racketeering Activity: Obstruction of Justice in Violation of 18 U.S.C. § 1503
2         The Elements of 18 U.S.C. § 1503

 3        The "omnibus clause" of 18 U.S.C. § 1503 provides that:

 4        "Whoever . . . com1ptly or by threats or force, or by any threatening letter or communica­
          tion, influences, obstructs, or impedes, or endeavors to influence, obstruct, or im­
 5        pede, the due administration of justice, shall be fined not more than $5,000 or imprisoned
          not more than five years, or both."
 6
          "[T]he [plaintiff] must establish (1) that there is a pending judicial . . . proceeding consti­
 7        tuting the administration of justice, (2) that the defendant knew or had notice of the pro­
          ceeding, and (3) that the defendant acted with the wrongful intent or improper purpose to
 8        influence the judicial . . . proceeding, whether or not the defendant is successful in doing
 9        so."96 "[A] defendant does not need to know with certainty that his conduct would affect
          judicial proceedings . . . [i]nstead, the defendant's conduct must only have the natural and
10        probable effect of interfering with the due administration of justice. "97
11                     From United States v. Bonds 730 F.3d 890 (9th Cir. 2013)
12        "18 U.S.C. § 1503 known as the omnibus clause, is comprehensive.We have described it
13        as being "designed to proscribe all manner of corrupt methods of obstructing justice."
          United States v. Rasheed, 663 F.2d 843, 851-52 (9th Cir.1981). The essence of the statute
14        is that it criminalizes conduct intended to deprive the factfinder of relevant infor­
15        mation. See United States v. Ashqar, 582 F.3d 819, 822-23 (7th Cir.2009)." -

16        In United States v. Rasheed 663 F.2d 843 (9th Cir. 1981), the Ninth Circuit wrote:
17        In United States v. Ryan, supra, we said, in dicta, that "[t]he word 'corrupt' in [section
          1503] means for an evil or wicked purpose." United States v. Ryan, supra, 455 F.2d at
18
          734. Black's Law Dictionary defines "conuptly" to mean with "a wrongful design to ac­
19        quire some pecuniary or other advantage." Black's Law Dictionary 414 (4th ed. rev.
          1968). We hold that the word "corruptly" as used in the statute means that the act must be
20
          done with the purpose of obstructing justice. Decisions of other circuits support this posi­
21        tion. United States v. Ogle, 613 F.2d 233, 238 (10th Cir. 1979), cert. denied, 449 U.S.
          825, 101 S.Ct. 87, 66 L.Ed.2d 28 (1980); United States v. Haas, 583 F.2d 216, 220 (5th
22
          Cir. 1978), cert. denied, 440 U.S. 981, 99 S.Ct. 1788, 60 L.Ed.2d 240 (1979). Using this
23        definition of "conuptly," the destruction or concealment of documents can fall within
          the prohibition of the statute. This holding does no violence to our rule that the catch-all
24

25   96
        United States v. Quattrone, 441 F.3d 153, 170 (2d Cir. 2006).
     97
26      United States v. Kumar, 617 F.3d 612, 620-21 (2d Cir. 2010) (noting that courts afford
     Section 1503 "a generally non-restrictive reading") (internal quotations omitted); see also
27   United States v. Aguilar, 515 U.S. 593, 598 (1995) (noting that "the 'Omnibus Clause' serves
     as a catchall, prohibiting persons from endeavoring to influence, obstruct, or impede the due
28   �dministration of justice").
                                                     306
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 1      provision of section 1503 is limited by the prior specific prohibitions of the statute. The
        act of destroying or concealing subpoenaed documents is "similar in nature," Haili v.
 2
        United States, supra, 260 F.2d at 746, to the enumerated acts. The destruction or conceal­
 3      ment of subpoenaed documents results in the improper suppression of evidence, and thus
        the influencing, obstructing and impeding of judicial proceedings, just as much as does the
 4
        intimidation of a witness. United States v.Walasek, 527 F.2d 676, 679 n. 11 (3d Cir.
 5      1975).
 6
 7           459.   To effectuate prong #3 of the WSF Coverup Enterprise's illegal coverup

 8   scheme, the RICO Defendants engaged in evidence destruction, mutilation, and concealment
 9   as well as submitting false declarations to suppress material facts to obstruct Huynh from de­
10
     fend himself againstWalmart's motion summary judgement.
11
        A.    Fabrication of Seth Beal's 11/30/16 email and RIF list then filed false declaration to
12            purportedly assert that these documents were authentic when they were not.
13      B.    Destruction of Huynh's outlook calendar appointment for his meeting with Seth
              Beal on Oct 4 and Oct 18, 2017.
14
        C.    Fabrication of Melvenia Ha's Oct 17, 2016 then filed false declaration to purport­
15            edly assert that these documents were authentic when they were not.
        D.    Mutilation of the sent date and time of Huynh's emails by using the UTC time zone
16
              versus the PST time zone as stipulated in the ESI Protocol order.
17      E.    Mutilation of the headers in Huynh's emails to prevent Huynh from using them to
              defend himself against Walmart's motion for summary judgement.
18
        F.    Fabrication of Beal's 12/13/16 email and RIF list then filed false declaration to pur­
19            portedly confom their authenticity.
20      G.    Fabrication of Beal's 12/14/16 email and RIF list then filed false declaration to pur­
              portedly confinn their authenticity.
21
        H.    Fabrication of Melvenia Ha's purported sexual harassment report and Walmart's
22            Ethic and Compliance purported sexual harassment investigation repo1i created by
              Audrey Au to supportWalmart's legitimate reason for Huynh's termination.
23
        I.    Concealed and suppressed evidence and submitted false declarations to obstruct
24            Huynh from proving that Huynh's role was not eliminated due to the RIF.
        J.    Concealed and suppressed approximately 380 pages of documents to prevent Huynh
25
              from using them to prosecute his claims againstWalmart.
26
             460.   The RICO Defendant obstructed Huynh from submitting material evidence
27

28   into the records after he submitted his opposition brief in opposition toWalmart's motion for
                                                      307
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 1   summary judgment in the following ways. First, after Huynh filed a motion to supplement his
 2   opposition brief (DC Dkt. 127) the RICO filed their opposition brief (DC Dkt. 129) to oppose
 3
     Huynh's motion for leave to supplement his opposition brief even though they knew very well
 4
     that Huynh was entitled to supplement his opposition brief as afforded by F.R.C.P Rule
 5
     56(e).. Second, the RICO Defendants corruptly influenced District Judge Vince Chhabria to
 6
 7   never rule on Huynh's motion for leave to supplement (DC Dkt. 127) to obstruct Huynh from

 8   submitting material facts into the record in order to defend himself against Walmart's motion

 9   for summary judgement. Third, the RICO Defendants conuptly influenced District Vince
10
     Chhabria to exploit Huynh's inability to supplement his opposition brief as an excuse to ex­
11
     clude material facts Huynh submitting into the record to issue orders granting Walmaii sum-
12
     mary judgment (DC Dkt. 167) and dismiss all of Huynh's claim (DC Dkt. 168)
13
            461.    To ensure that Huynh would lose his lawsuit againstWalmart in a clear and
14
15   convincing fashion to further mislead the Media,Walmart's investors, investment analysts,

16   the SEC and/or the DOJ, and the American public, the RICO Defendants corruptly influence
17   District Judge Vince Chhabria to obstruct Huynh's access to the comi to meaningful defend
18
     himself againstWalmart motion for summary judgement and to file a motion for reconsidera­
19
     tion to appeal District Judge Vince Chhabria's entry of final judgement dismissing Huynh's
20
     claims againstWalmart.
21
22          462.    First, District Vince Chhabria purportedly claimed that Huynh needed his per-

23   mission for leave to file a motion for reconsideration then denied the request in order to ob-

24   struct Huynh from filing his motion for reconsideration as afforded by F.R.C.P Rule 59(e).
25          463.    Second, District Judge Vince Chhabria made misleading statements regarding
26
     the nature of Huynh's Jan 9, 2019 letter to District Judge Vince Chhabria (i.e., it was a motion
27
28
                                              308
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 1   for reconsideration when it was not) in order to bypass the District Comi's Local Rule 7-2 and
 2   7-3 in order to deny Huynh's motion for consideration on wimp versus on the merit.
 3
              464.   Fourth, District Judge Vince Chhabria discriminated against Huynh by not af­
 4
     fording Huynh an oppo1iunity to heard for no rational basis during the summary judgement
 5
     stage. District Judge Vince Chhabria cancelled the oral argument two days before the sched­
 6
 7   ule time to prevent Huynh from telling his side of the story (i.e., pointing the district court to

 8   material facts in the record and/or answer his questions regarding material factual disputes) to

 9   defend himself againstWalmart's motion for summary judgement. As the examples above
10
     show, Dish·ict Judge Vince Chhabria frequently afforded other litigants in Huynh's position
11
     and their lawyers the opp01iunities to tell the clients side of the story before ruling on their
12
     motion for summary judgement.
13
              465.   Fifth, Vince Chhabria discriminated against Huynh by not following the
14

15   United States District Comi of the Northern District of California's Local Rule 7-2 and 7-3

16   motion practice to give the parties the opportunity to fully brief their arguments and a mean­
17   ingful opportunity to be heard before ruling on Huynh's motion for reconsideration. Instead,
18
     District Judge Vince Chhabria denied Huynh's motion for reconsideration 3 days after it was
19
     filed. As the examples above show, District Judge Vince Chhabria h·eated similarly situated
20
     litigants the opportunity to be heard fully before ruling on their motion for reconsideration.
21
22   See X.

23            466.   After Huynh's filed his amended notice of appeal with the United States Court

24   of Appeals for the Ninth Circuit (DC Dkt. 183), the RICO Defendants caused Huynh's appeal
25   to be denied by the Ninth Circuit's merit panel through factual and legal misrepresentations
26
     and improper influences.
27
28
                                             309
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 1          467.    First, as discussed above even though the five nefarious ADHD FEHA claims
 2   shotgun pleaded by David deRubertis were dismissed with prejudice by District Judge Vince
 3
     Chhabria (DC Dkt. 84), the RICO Defendants continued cited FEHA discrimination and retal­
 4
     iation claim case law in the briefs they e-filed with the United States Comi of Appeals for the
 5
     Ninth Circuit to impose a higher legal standard for Huynh to survive his appeal against
 6
 7   Walmart.

 8          468.    Second, the RICO Defendants made misleading statements of facts and of law

 9   in their answering brief opposing Huynh's opening brief in an attempt to obstruct justice to
10
     get Huynh's appeal againstWalmart denied by the Ninth Circuit. See COA Dkt. 33 -
11
     Huynh's reply brief toWalmaii's answering brief.
12
            469.    Third, upon information and belief, after failing to improperly get Huynh's ap­
13
     peal dismissed based on the merit, the RICO Defendants improperly influenced the Ninth Cir­
14

15   cuit's panel to deny Huynh's appeal with a one paragraph ruling that based on the wrong legal

16   standards i.e., improperly applied the McDonnel Douglas frame work to evaluate and deny
17   Huynh's SOX claim and CA wrongful termination in violation of public policy claims.
18
            470.    In summary, the RICO Defendants' conducts during the Huynh vsWalmart
19
     litigation were not limited to a few simple discovery violations, 98 but a consistent pattern of
20

21   fraudulent and illegal acts perpetrated to effectuate theWSF Coverup Enterprise's common

22   objective of concealing Walmart's $140 Bil fraud against shareholders from Walmart's

23

24
25   98 Sections 1503 and 1512 provide no defense for obstruction or tampering that occurs in a
26   civil suit or in discovery, and courts have created no such exception. United States v.
     Lundwall, 1 F. Supp. 2d 249, 250, 256 (S.D.N.Y. 1998) (corporate officials who had withheld
27   and destroyed evidence during civil discovery could be prosecuted under § 1503); United
     States v. LeMoure, 474 F.3d 37 (1st Cir. 2007) (affirming conviction for witness tampering
28   under § 1512 based on pressuring a witness to lie in a civil deposition).
                                                       310
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 1   shareholders, investment analysts, the Media, the SEC and/or the DOJ, States agencies, poli­
 2   ticians, and the American public. As a result of their illegal acts, the RICO Defendants made
 3
     a mockery of our adversarial system of justice (a model emulated by people the world over)
 4
     and suppressed the very motto of our judiciary "Equal Justice Under Law" inscribed on the
 5
     fa9ade of US States Supreme Comi building.
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19             . · � LI                                                   ._               .. _ _
      "Equal Justice Under Law Is Not Merely A Caption On The Facade Of The Supreme Court
20    Building; It Is Perhaps The Most Inspiring Ideal Of Our Society. It Is One Of The Ends For
      Which Our Entire Legal System Exists . . . It Is Fundamental That Jus-tice Should Be The
21    Same, In Substance And Availability, Without Regard To Eco-nomic Status." - Justice
      Lewis F. Powell, Jr., U.S. Supreme Court Justice.
22
23
24          4 71.         Criminal laws exist to punish such conduct in order to "protect the integrity of

25   the court and the due adminish·ation of justice." United States v. Lundwall, 1 F. Supp. 2d
26   249, 256 (S.D.N.Y. 1 998) as well as proper administration of US governmental Agency pro­
27
     ceedings. Application of these criminal statutes here is especially appropriate because
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                                                   31 1
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1    Huynh produced the full scope of the RICO Defendants' corrupted and criminal conducts in
2    pursuit of the WSF Coverup Enterprise's common purpose. The "numerous prudential rea­
3
     sons [for which] prosecutors might avoid" prosecuting civil discovery abuses do not mean
4
     that " § 1503 precludes their doing so." Id. at 254. The Second Circuit has repeatedly affirmed
5
     RICO convictions based on the corruptness of a lawyer's actions in civil litigation. See
6
7    United States v. Eisen, 974 F.2d 246 (2d Cir. 1992); United States v. Teitler, 802 F.2d 606

 8   (2d Cir. 1986). Here, Defendants did more than file pleadings in a bad case but they commit-

 9   ted many RICO predicate crimes which are serious, nefarious and heinous.
10
          Pattern of Racketeering Activity: Violation of Cal. Pen. Code § 92 - Bribery Statute. This
11
          is a predicate act under Section 1961(l)(A)
12
          Cal. Pen. Code § 92 - provides.
13
          Every person who gives or offers to give a bribe to any judicial officer, juror, referee, arbi­
14        trator, or umpire, or to any person who may be authorized by law to hear or determine any
15        question or controversy, with intent to influence his vote, opinion, or decision upon any
          matter or question which is or may be brought before him for decision, is punishable by
16        imprisonment in the state prison for two, three or four years

17        In U.S. v. Frega 179 F.3d 793 (9th Cir. 1999), the Ninth Circuit states:
18        Linkage between a payment and a specific official decision is not required under Califor­
          nia bribery law.99 California Penal Code § § 92 and 93 make unlawful bribes intended to
19
          influence any matter "which is or may be brought" before a judge for decision. A "bribe"
20        is anything of value given or accepted with "a c01rupt intent to influence, unlawfully, the
          person to whom it is given, in his or her action, vote, or opinion, in any public or official
21        capacity." Cal. Penal Code § 7(6) 1 00 . As the California Supreme Court observed in con-
22
23
24   99
        The requirements for establishing a violation of the California bribery statutes at issue here,
     California Penal Code § § 92 and 93, thus differ from those for establishing a violation of the
25   federal anti-gratuity statute, 18 U.S.C. § 201(c)(l) (A). In order to prove a violation of the lat­
26   ter statute, the Supreme Court recently held in United States v. Sun-Diamond Growers of Cal­
     ifornia, 1999 WL 241704 (U.S.), the government must prove a link between a thing of value
27   conferred upon a public official and a specific "official act" for or because of which it was
     given.
28   :00
         "The word 'conuptly' imports a wrongful design to acquire or cause some pecuniary or
                                                       312
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 1      nection with another section of the Penal Code, which similarly makes unlawful the re­
        ceipt of a bribe intended to affect consideration "of any question or matter, upon which
 2
        [the official] may be required to act in his official capacity": People v. Diedrich, 182
 3      Cal.Rptr. 354, 360 (1982) (en bane). See also People v. Markham, 64 Cal. 157, 159 806
        (1883) (holding that the crime is complete when the payment is corruptly given with in­
 4      tent to influence the *806 judicial officer on any matter that may by law come before him
 5      in his official capacity, whether or not it ever does).

 6          472.    Even though, Huynh didn't have direct evidence at this time to proves that 1)

 7   the RICO Defendants communicated via US mails or the wire's transmission facilities with
 8   District Judge Vince Chhabria and Magistrate Judge Sallie Kim to corruptly influence them to
 9
     consistently rule inWalmart's favor in order to effectuate theWSF Coverup Enterprise' ille­
10
     gal coverup scheme, and 2) the RICO Defendants conferred thing of value upon District
11
     Judge Vince Chhabria and Magistrate Judge Sallie Kim to influence the outcome of their rul­
12
13   ings, Huynh strongly believes that this information is in the RICO Defendants' possession and

14   will be discoverable during discovery.

15          473.    However, as discussed above there was plenty of circumstantial evidence that
16
     proved that District Judge Vince Chhabria and Magistrate Judge Sallie Kim consistently rules
17
     inWalmart's favor. As the popular saying goes "There ain't no such thing as a free lunch" 1 0 1 .
18
19   Therefore, in order for District Judge Vince Chhabria and Magistrate Judge Sallie Kim to rule

20   consistently inWalmart's favor, it was more likely than not that the RICO Defendants offered

21   them something of value in exchange for the favorable rulings.
22
23
24
25
26

27   other advantage to the person guilty of the act or omission referred to, or to some other per­
     son." Cal. Penal Code § 7(3).
28   � ot https://en.wikipedia.org/wiki/There ain%27t no such thing as a free lunch
                                                       313
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1           Pattern of Racketeering Activity: Violation of 18 U.S.C. § 201(b)(l):
2
            18 U.S.C. § 201(b)(l ) provides that:
3
               (b)Whoever
4
                  (1) directly or indirectly, corruptly gives, offers or promises anything of value to
5                 any public official 1 02 or person who has been selected to be a public official, or of­
                  fers or promises any public official or any person who has been selected to be a
 6                public official to give anything of value to any other person or entity, with intent
 7             (A) to influence any official act; or
 8             (B) to influence such public official or person who has been selected to be a public
               official to commit or aid in committing, or collude in, or allow, any fraud, or make
 9             opportunity for the commission of any fraud, on the United States; or
10             (C) to induce such public official or such person who has been selected to be a pub­
               lic official to do or omit to do any act in violation of the lawful duty of such offi­
11             cial or person;
12
               474.    Even though, Huynh didn't yet have direct evidence at this time to proves that
13

14   1) the RICO Defendants communicated toWilliam H. Thompson (SEC official), Mark Mar­

15   chione (OSHA official), and Jonelle Dunn (OSHA official) via US mails or the wire's trans­

16   mission facilities to corruptly influence these federal officials to acted favorably toward
17
     Walmart Inc. i.e., obstructing the SEC and OSHA proceedings, and 2) the RICO Defendants
18
     conferred thing of value uponWilliam H. Thompson (SEC official), Mark Marchione (OSHA
19
     official), and Jonelle Dunn (OSHA official) to conuptly influence them to act inWalmart's
20

21   favors, Huynh strongly believes that this information is in the RICO Defendants' possession

22   and will be discoverable during discovery.

23

24
25
     1 02
26       the term "public official" means Member of Congress, Delegate, or Resident Commis­
     sioner, either before or after such official has qualified, or an officer or employee or person
27   acting for or on behalf of the United States, or any department, agency or branch of Govern­
     ment thereof, including the District of Columbia, in any official function, under or by author­
28   ity of any such department, agency, or branch of Government, or a juror;
                                                        314
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 1            475.    However, as discussed above there was plenty of circumstantial evidence
 2   which proved thatWilliam H. Thompson (SEC official), Mark Marchione (OSHA official),
 3
     and Jonelle Dunn (OSHA official) performed acts in their official capacity at the RICO De­
 4
     fendants' directions which empowered them to effectuate the WSF Coverup Enterprise's
 5
     common purpose. As the popular saying goes "There ain't no such thing as a free lunch".
 6
 7   Therefore, for the three federal officials above to act inWalmart Inc.'s favor, it was more

 8   likely than not that the RICO Defendants offered them something of value in exchange for the

 9   favorable actions.
10
           Pattern of Racketeering Activity: Violation section 1 8 U.S.C. § 1 952(a)(3) of the Travel
11         Act (1 8 U.S.C. § 1 952) in Violations of Cal. Pen. Code § 92 (California) and 1 18 U.S.C. §
           201(b)(l) (Federal) Bribery Statutes 1 03
12
           The Elements of 1 8 U.S.C. § 1 952(a)(3)
13
           1 8 U.S.C. § 1 952(a)(3): Elements of Travel Act violation include: ( 1 ) use of the "mail
14         or any facility in interstate or foreign commerce," (2) with the intent to "promote,
           manage, establish, carry on, or facilitate the promotion, management, establishment, or
15         carrying on, of any unlawful activity," followed by (3) performance of or an attempt to
           perfonn an act of promotion, management, establishment, carrying on, or facilitation
16         of the enumerated unlawful activity"
17         "Unlawful activity" is defined in Criminal Code Section 1 952(b)(2) as, inter alia, extor­
           tion, bribery, or arson in violation of the laws of the State in which committed or of the
18

19
20   103
         The short answer is that RICO explicitly makes it unlawful to agree to conduct an enter­
     prise through predicate acts of state criminal violations, such as bribery. 1 8 U.S. C. § 1 96 1 ( 1)
21   (A). As we recently noted: That RICO embodies a fundamental federal policy can scarcely be
22   disputed. . .. RICO represents a fundamental choice by Congress to employ the heavy artillery
     of federal law against a variety of organized criminal endeavors involving security fraud, wire
23   fraud, and bribery.
        Govett Am. Endeavor Fund Ltd. v. Trueger, 1 1 2 F.3d 1 0 1 8, 1 02 1 -22 (9th Cir. 1 997).
24      Moreover, we have often affirmed RICO convictions involving bribery of state officials,
        see, e.g., Jackson, 72 F.3d at 1 373 (bribery of state senator); United States v. Dischner, 974
25      F.2d 1 502, 1 506-08 (9th Cir. 1 992) (bribery of a mayor), as have other circuits, see, e.g.,
26      United States v. Griffith, 85 F.3d 284, 288 (7th Cir.), cert. denied, - U.S. -, 1 1 7 S.Ct.
        272 ( 1 996) ("[b]ribery of local . . . officials is just the sort of corruption connoted by the
27      te1m 'racketeering"'), and the United States Supreme Court, see Salinas v. United States,
        1 1 8 S.Ct. 469, 472-73 ( 1 997) (upholding RICO conspiracy convictions of deputy who ac­
28      cepted bribes from prisoners in county jail).
                                                            315
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 1       United States. The tenn "State" includes a State of the United States, the District of Co­
         lumbia, and any commonwealth, territory, or possession of the United States.
 2
             476.     As discussed above, the RICO Defendants commi.tted predicate acts in viola-
 3
     tion of 1 8 U.S.C. § 201 (b)(l) and Cal. Pen. Code § 92 in order to effectuate theWSF Coverup
 4
 5   Enterprise's fraudulent scheme. Even though, Huynh currently doesn't possess direct evi­

 6   dence of communications between the RICO Defendants and the five federal officers dis­
 7   cussed above, Huynh strongly believes that this information will be discoverable during dis­
 8
     covery to prove that the RICO Defendants violated 1 8 U.S.C. § 1 952(a)(3).
 9

10       Pattern of Racketeering Activity: Money Laundering in Violation of 18 U.S. C. § 1
         956(a)(2)(A).
11
             477.     On information and believes, the RICO Defendants i.e., theWalmart Partici­
12
13   pants,Walmart Inc., the Rescue Squad, and the Law Firm of Gibson Dunn Crutcher, and

14   other Doe(s) on multiple occasions have knowingly caused the transportation, transmission,

15   and/or transfer of funds from Bentonville, AR, to the Rescue Squad ( California and/orWash­
16   ington DC) who in tum, directly and/or through third parties to transfer fund to the other
17
     RICO Defendants and/or their Co-conspirators via the wire with the intent that those funds be
18
     used to promote the canying on of unlawful activity, including but not limited to violations of
19
     18 U.S.C. § § 1 34 1 , 1 343, 1 5 1 2(c)(2), 1 5 1 2(c)(l); 1 5 1 2(b)(2)(B), 1 5 1 2(k), 1 503, 371 ,
20
21   20l (b)(l), California. Pen. Code § 92 1 952(a)(3), and 1956 (a)(2)(A), such as the stealing and

22   leaking of the confidential and non-public information in Huynh's SEC submission to ob­

23   struct the SEC investigation into Walmart's illegal conducts, the obstruction of the OSHA and
24
     SEC investigations perpetrated by Mark Marchione, Jonelle Dunn, and William H. Thompson
25
     and District Vince Chhabria's dismissal of Huynh civil complaint againstWalmart Inc.
26
27
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                                                  316
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 1                           Damages and Injuries Caused by RICO Defendants
 2            478.   Each of the RICO Defendants has engaged in multiple predicate acts, as de­
 3
     scribed above. The conduct of each of the RICO Defendants constitutes a pattern of racketeer­
 4
     ing activity within the meaning of U.S.C. § 1961(5).
 5
              479.   Huynh was injured in his property by reason of the RJCO Defendants' viola-
 6
 7   tions of 18 U.S.C. § 1962(c) which included but not limited to the following: 1) loss of

 8   Huynh's claim to his SEC award, 2) loss of Huynh's claim to his civil lawsuit against

 9   Walmart, 3) damaged to Huynh's personal and profession reputation, and 4) costs to appeal
10
     District Judge Vince Chhabria's dismissal of Huynh's complaint against Walmart.
11
              480.   Further, as a direct and foreseeable result of the aforesaid acts of said Defend­
12
     ants, Plaintiff has suffered and will suffer harm for which Plaintiff is entitled to general and
13
     special damages and all appropriate compensatory relief.
14
15            481.   Defendants' conduct was a substantial factor in causing that hann. The above­

16   described acts of Defendants, including by and through their managing agents, officers, or di­
17   rectors, were engaged in with a deliberate, cold, callous, fraudulent, and intentional manner in
18
     order to injure and damage Plaintiff and/or with a conscious disregard of Plaintiffs rights.
19
     Such acts were despicable and constitute malice, fraud, and/or oppression. Plaintiff requests
20
     an assessment of punitive damages against Defendants in an amount to be assessed at time of
21
22   trial.

23            482.   Pursuant to 18 U.S.C. § 1964(c), Huynh is entitled to recover treble damages

24   plus costs and attorneys' fees from the RJCO Defendants.
25
26
27
28
                                              317
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 1                                        CLAIMS FOR RELIEF
                                    SECOND CLAIM FOR RELIEF
 2                               (Violations of RICO, 18 U.S.C. § 1962(d))
 3                                     (Against All RICO Defendants)

 4
                           Legal Elements of an 18 U.S.C. § 1962(d) Claim
 5
 6      Under 18 U.S.C. § 1962(d), it is unlawful for any person to conspire to violate subsec­
        tions (a), (b), or (c) of RICO. 18 U.S.C. § 1962(d).
 7
        The essential elements of a § 1962( d) conspiracy include: (1) knowledge of the corrupt
 8      enterprise's activities and (2) agreement to facilitate those activities. Salinas v. United
 9      States, 522 U.S. 52, 66 (1997); Rose v. Bartle, 811 F.2d 331, 366 (3d Cir. 1989). Be­
        cause there is no requirement of some overt or specific act, the RICO conspiracy pro­
10      vision is even more comprehensive than the general conspiracy offense. Salinas, 522
11      U.S. at 63. Thus, "a defendant may be held liable for conspiracy to violate section
        1962(c) if he knowingly agrees to facilitate a scheme which includes the operation or
12      management of a RICO enterprise." Smith v. Berg, 247 F.3d 532, 538 (3d Cir. 2001);
        see also Salinas, 522 U.S. at 64 ("If conspirators have a plan which calls for some con­
13
        spirators to perpetrate the crime and others to provide support, the supporters are as
14      guilty as the perpetrators."); Dongelewicz v. PNC Bartle Nat'l Ass'n, 104 Fed. Appx.
        811, 818 (3d Cir. 2004) (adopting Smith standard). "In certain circumstances, a de­
15
        fendant may be held liable under § 1962(d) even where its own actions would not
16      amount to a substantive RICO violation." In re Ins. Brokerage Antitrust Litig., 618
        F.3d 300, 372 (3d Cir. 2010). Nonetheless, "[u]nderlying a § 1962(d) claim is the re­
17
        quirement that plaintiff must show that defendants agreed to the c01mnission of a 'pat­
18      tern of racketeering.
19          483.     Huynh realleges and incorporates herein by reference each and every forego-
20
     ing paragraph of this Complaint as if set forth in full.
21
            484.    The RICO Defendants have unlawfully, knowingly and willfully combined,
22
     conspired, confederated and agreed together and with others to violate 18 U.S.C. § 1962(c) as
23
24   described above, in violation of 18 U.S.C. § 1962(d).

25          485.    Using the framework above to prove the existence of an agreement to engage

26   in a conspiracy and the specificity of the RICO Defendants' commission of the illegal predi­
27
     cate acts, it was more probable than not RICO Defendant had an agreement in place to violate
28
                                              318
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 1   18 U.S.C. § 1962(d) for several reasons. First, the RICO Defendants and they had the com­
 2   mon purpose of coverupWalmart's 140 Bil fraud against shareholder. To achieve this com­
 3
     mon purpose and the RICO committed various illegal predicate acts to effectuate a six­
 4
     pronged coverup scheme discussed above. The predicate acts and/or overt acts were interde­
 5
     pendence for example in order for theWalmart Pa1ticipants to engage in the whitewash cam­
 6
 7   paign, David deRubertis must steal and leak the specific allegations in Huynh's SEC submis­

 8   sion regardingWalmart's illegal conducts. the RICO Defendants also engaged in predicate

 9   acts and over acts to conceal (prong #4 - Coverup the Coverup) the existing ofWSF Coverup
10
     Enterprise's fraudulent coverup scheme. In short, the above analysis proved that it was more
11
     likely than not that the RICO Defendants entered in an agreement to conspire to violated 18
12
     U.S.C. § 1962(c).
13
            486.    Additionally, due to the high level of coordination and interdependency of the
14

15   predicate acts and over acts perpetrated by the RICO Defendants, it was more likely than not

16   that RICO Defendants (specifically theWalmait Participants) had knowledge of theWSF
17   Coverup Enterprise's activities.
18
            487.    In sho11, there was an agreement among the RICO Defendants to conspire to
19
     participate in the management and/or operation of theWSF Coverup Enterprise for the com­
20
     mon purpose of covering upWalmart's $140 Bil fraud against shareholders and to ensure a
21
22   criminal and civil risk-free future for the RICO Defendants. Therefore, the RICO conspired to

23   violate 18 U.S.C. § 1962(c) in violation of 18 U.S.C. § 1962(d).

24          488.    As a direct and proximate result of the RICO Defendants' conspiracy, the acts
25   of racketeering activity of the Enterprise, the overt acts taken in furtherance of that conspir­
26
     acy, and violations of 18 U.S.C. § 1962(d), Huynh has been injured in his business and prop­
27
     erties which include but not limited to 1) loss of Huynh's claim to his SEC award, 2) loss of
28
                                             319
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 1   Huynh's claim to his civil lawsuit against Walmmi, 3) damaged to Huynh's personal and pro­
2    fession reputation, and 4) costs to appeal District Judge Vince Chhabria's dismissal of
3
     Huynh's complaint againstWalmmi.
4
              489.   Further, as a direct and foreseeable result of the aforesaid acts of said Defend­
 5
     ants, Plaintiff has suffered and will suffer harm for which Plaintiff is entitled to general and
 6
 7   special damages and all appropriate compensatory relief.

 8            490.   Defendants' conduct was a substantial factor in causing that hmm. The above­

 9   described acts of Defendants, including by and through their managing agents, officers, or di­
10   rectors, were engaged in with a deliberate, cold, callous, fraudulent, and intentional man-ner
11
     in order to injure and damage Plaintiff and/or with a conscious disregard of Plaintiffs rights.
12
     Such acts were despicable and constitute malice, fraud, and/or oppression. Plaintiff requests
13
     an assessment of punitive damages against Defendants in an amount to be assessed at time of
14
15   trial.

16            491.   Pursuant to 18 U.S.C. § 1964(c), Huynh is entitled to recover treble damages
17   plus costs and attorneys' fees from the RICO Defendants.
18
                                          CLAIMS FOR RELIEF
19                                     THIRD CLAIM FOR RELIEF
                                              (Bivens Actions)
20                                      (Against All RICO Defendants)
21            492.   According to the Ninth Circuit Court of Appeal, a Bivens Action is the
22
     "federal official analog" of 42 USC 1983 claim i.e., one just replaces "state official" with
23
     "federal official". 1 04 Additionally, the "Fourteenth Amendment" needs to be replaced
24
25   with the "Fifth Amendment". While the Equal Protection Clause itself applies only to

26
     1 04
27      The legal framework for 42 USC 1983 and Bivens Action claims were extracted from the
     Ninth Circuit Section 1983 outline. https://cdn.ca9.uscourts.gov/datastore/up­
28   loads/guides/section l 983/Section%20 l 983%20Outline%2020 l 8%20-%20WESTLAW.pdf
                                                     320
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 1   state and local governments, the Supreme Court held in Bolling v. Sharpe (1954) that the
2    Due Process Clause of the Fifth Amendment nonetheless imposes various equal protec­
 3
     tion requirements on the federal government via reverse incorporation. Therefore, the
4
     Fifth Amendment offered both due process right and equal protection right.
 5
 6      Section 1983 provides:
        Every person who, under color of any statute, ordinance, regulation, custom, or usage,
 7
        of any State or Tenitory or the District of Columbia, subjects, or causes to be sub­
 8      jected, any citizen of the United States or other person within the jurisdiction thereof
        to the deprivation of any rights, privileges, or immunities secured by the Constitution
 9      and laws, shall be liable to the party injured in an action at law, suit in equity, or other
        proper proceeding for redress...
10
        Elements of a § 1983 Action
11
         "Traditionally, the requirements for relief under [§] 1 983 have been articulated as:
12      ( 1 ) a violation of rights protected by the Constitution or created by federal statute, (2)
        proximately caused (3) by conduct of a 'person' (4) acting under color of state law."
13      Crumpton v. Gates, 947 F.2d 1418, 1 420 (9th Cir. 1 99 1 ). Or, more simply, courts
        have required plaintiffs to "plead that ( 1 ) the defendants acting under color of state
14      law (2) deprived plaintiffs of rights secured by the Constitution or federal statutes."
        Gibson v. United States, 78 1 F.2d 1334, 1 338 (9th Cir. 1 986); see also Pistor v. Gar­
15
        cia, 791 F. 3d 1 1 04, 1 1 1 4 (9th Cir. 201 5.
16          493.     The chart below summarized the three-step analysis Huynh used to sup-
17
     port his Biven Action claim against the RICO Defendants discussed above.
18
            494.    First, in order to establish that private parties conspired with federal offi-
19
20   cials to injure the Plaintiffs constitutional rights, the Plaintiff must prove the existence of

21   an agreement among the parties.

22
        Private Parties
23      Generally, private parties are not acting under color of state law. See Price v. Hawaii,
24      939 F.2d 702, 707-08 (9th Cir. 1 99 1 ); see also Simmons v. Sacramento Cty. Superior
        Comi, 3 1 8 F.3d 1 1 56, 1 1 6 1 (9th Cir. 2003) (explaining that a lawyer in private prac­
25      tice does not act under color of state law).Where a private party conspires with state
        (federal) officials to deprive others of constitutional rights, however, the private party
26      is acting under color of state (federal) law. See Tower v. Glover, 467 U.S. 9 1 4, 920
        (1984); Kimes v. Stone, 84 F.3d 1 1 2 1 , 1 126 (9th Cir. 1996). Dennis v. Sparks, 449
27      U.S. 24, 27- 28 ( 1980);
28
                                              321
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 1         For example, a private party conspires with a federal judge to deprive others of con­
           stitutional rights is acting under color of federal law (similar to 42 USC 1983). See
 2         Dennis v. Sparks 449 U.S. 24 ( 1980).
 3
 4                                                                               •   :    •   A   •




 5
                                        Clearly Established Constitutional Rights

                                                                                         f1J) Properties
 6
                                Fifth Amendment
 7                                 Protections
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                         Procedural Due Process
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 9   ti)                                                      §.
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                     Substantive Due Process                  3 ru
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                         • Access to Court
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     "C s...             • Deliberate Fabrication
      C: a.,                                                  0 5·                       Claim to SEC
11   � >                 • Evidence Suppression                     ...,
     �o
                                                              Ill          ::,
                                                                    ....                 Whistleblower Reward
                         -~   ---   -   --   -                C:    Ill
                                                              CJ)   0
12                            Equal Protection                (D


                               Class of One
13
                                • A private party conspires with a federal judge to deprive others of
14
                   ...
                   0
                                  constitutional rights is acting under color of federal law (similar to 42 USC
                                  1 983). See Dennis v. Sparks 449 U.S. 24 ( 1 980).
15                 0            • Under 42 USC 1 985(3) and 42 USC 1 986, the Plaintiff needs to prove that
                   0              private parties engaged in conspiracy to deprive his/her constitutional rights.
16                 0

17
18                                      Existence of an Agreement to Conspire
19
                 495.         Based on the framework provided above and the specific predicate acts
20
     and/or overt acts perpetrated by the RJCO Defendants in order to effectuate their com­
21
     mon purpose (i.e., to conceal Walmart's $ 140 Bil fraud against shareholders), it was
22
23   more likely than not that there was an agreement among the RJCO Defendants to con­

24   spire with District Judge Vince Chhabria, Magistrate Judge Sallie Kim, William H.
25   Thompson (An SEC official) and Mark Marchione (An OSHA official) to violate
26
     Huynh's constitution rights for three main reasons. First, the RICO Defendants acted in
27
     concert in pursuit of the WSF Coverup Enterprise's illegal common purpose. Second, the
28
                                                                       322
                                        COMPLAINT - DEMAND FOR JURY TRIAL
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1    RICO Defendants executed the predicate acts and/or overt acts in a concerted and inter­
2    dependent fashions. Third, the RICO Defendants engaged in concealment and coverup of
3
     their illegal acts (prong #6 i.e., covernp the covemp scheme). In sh01t, the customized
4
     analysis above proved that there was an implicit agreement among the RICO Defendants
5
     to engage in a conspiracy to cause Huynh 's constitutional injuries.
 6
 7                        Huynh's Clearly Established Right to Properties
 8
            496.    First, Huynh's lawsuit againstWalmart Inc. Huynh v. Wal-Mart Stores, Inc. et
 9
     al. Case 3: 18-cv-01631-VC is a clearly established constitutional property right.
10
        A plaintiff has a private property right in his claim of action-i.e., in the right to sue­
11
        and in his lawsuit once filed. Indeed, the U.S. Supreme Court has "squarely" held
12      that even an unadjudicated cause of action is constitutional prope1ty (Thomas Mer­
        rill, The Landscape of Constitutional Property, 86 VA. L. REV. 885, 913 (2000)). In
13      Logan v. Zimme1man Brush Co., 455 U.S. 422, 428 (1982), the Supreme Comt con­
        sidered it "settled" that a cause of action is a species of property"), basing its asser­
14      tion on Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306 (1950). Logan
15      further noted that a "tort or discrimination action" is "a property interest.

16          497.    Second, Huynh's claim to his SECWhistleblower Award under the SEC Whis­

17   tleblower Award program is a clearly established property interest afforded by Section 15
18   U.S.C. §78u-6(b)( l ) of the Dodd-Frank Act which states.
19
            498.    "A property interest in a benefit protected by the due process clause results
20
     from a legitimate claim of entitlement created and defined by an independent source, such
21   as state or federal law." Board of Regents v. Roth, 408 U.S. 564, 577, 92 S.Ct. 2701, 2709,
22   33 L.Ed.2d 548 (1972). A reasonable expectation of entitlement is determined largely by

23   the language of the statute and the extent to which the entitlement is couched in mandatory
     tenns. See Grif eth v. Detrich, 603 F.2d 118 (9th Cir. 1979), cert. denied, 445 U.S. 970,
24
     100 S.Ct. 1348, 64 L.Ed.2d 247 (1980).
25

26          499.    In any covered judicial or administrative action, or related action, the Com-

27   mission, under regulations prescribed by the Commission and subject to subsection (c),

28
                                              323
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 1   shall pay an award or awards to 1 or more whistleblowers who voluntarily provided origi­
 2   nal information to the Commission that led to the successful enforcement of the covered

 3   judicial or administrative action, or related action, in an aggregate amount equal to- (A)
     not less than 10 percent, in total, of what has been collected of the monetaiy sanctions im­
 4
     posed in the action or related actions; and (B) not more than 30 percent, in total, of what
 5
     has been collected of the monetary sanctions imposed in the action or related actions.
 6
 7
                     Rights Under the Fifth Amendment of the US Constitution
 8
                         Due Process Protection Under the Fifth Amendment
 9
            500.    "[N]or shall any State (Federal Government) deprive any person of life, liberty,
10
     or property, without due process of law."We have emphasized time and again that "[t]he
11
     touchstone of due process is protection of the individual against arbitrary action of govern­
12
     ment,"Wolff v. McDonnell, 418 U.S. 539, 558 (1974), whether the fault lies in a denial of
13   fundamental *846 procedural fairness, see, e.g., Fuentes v. Shevin, 407 U.S. 67, 82 (1972)
14   (the procedural due process guarantee protects against "arbitrary takings"), or in the exercise
15   of power without any reasonable justification in the service of a legitimate governmental ob­
     jective, see, e.g., Daniels v.Williams, 474 U.S., at 331 (the substantive due process guarantee
16
     protects against government power arbitrarily and oppressively exercised).
17

18          501.    Due process claims may take either of two forms: "procedural due process" or

19   "substantive due process." See generally Hall v. Tawney, 62 1 F.2d 607, 610-13 (4th Cir.
     1980). Procedural due process requires that the procedures provided by the state (federal gov­
20
     ernment) in effecting the deprivation of liberty or property are adequate in light of the affected
21
     interest. Substantive due process, however, imposes limits on what a state (federal govern­
22
     ment) may do regardless of what procedural protection is provided. See Monroe v. Pape, 365
23   U.S. at 171-72, 81 S.Ct. at 475; Rochin v. California, 342 U.S. 165, 169, 72 S.Ct. 205, 208,
24   96 L.Ed. 183 (1952)
25
                                         Procedural Due Process
26
            502.    Procedural due process mles do not protect persons from the deprivation of
27
     life, liberty or property but from the mistaken or unjustified deprivation of life, liberty or
28
                                               324
                              COMPLAINT - DEMAND FOR JURY TRIAL
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1    property. Carey v. Piphus, 435 U.S. 247, 259 (1978); Mathews v. Eldridge, 424 U.S. 319, 344
2    (1976). Fundamental requirements of procedural due process: 1) Notice and a hearing before

3    an impartial tribunal, 2) An opportunity for confrontation and cross examination, 3) A deci­
     sion based on the record; Fuentes v. Shevin, 407 U.S. 67, 81 (1972); Carey v. Piphus, 435
4
     U.S. 247, 266 - 67 (1978).
5
 6          503.    An essential right in both criminal and civil proceedings. The neutrality re­
     quirement: 1) Helps to guarantee that life, liberty or property will not be taken based on an er­
 7
     roneous or distorted conception of the facts or the law, 2) Preserves both the appearance and
 8
     reality of fairness by ensuring that no person will be deprived of his interests in the absence of
9
     a proceeding in which he may present his case with the assurance that the arbiter is not predis­
10   posed to find against him. Marshall v. Jericho, 446 U.S. 238, 242 (1980); Schweiker v.
11   McClure, 456 U.S. 188, 195 (1982). Applies whenever important decisions turn on questions
12   of fact. Only way to test their testimony is through the right of confrontation and cross-exami­

13   nation. -- Goldberg v. Kelly, 397 U.S. 254, 269 (1970); Greene v. McElroy, 360 U.S. 474,
     496 - 97 (1959). The decisionmaker's conclusion must rest solely on the legal rules and evi­
14
     dence adduced at the hearing. To show that this occurred, the decisionmaker should state the
15
     reasons for his determination and indicate the evidence he relied upon, although his statement
16   is not required to amount to a full opinion or formal findings of fact and conclusions of law.
17   Goldberg v. Kelly, 397 U.S. 254, 271 (1970)
18
                                        Substantive Due Process
19

20          504.    In Collins v. Harker Heights, for example, we said that the Due Process Clause
     was intended to prevent government officials "'"from abusing [their] power, or employing it
21
     as an instrument of oppression."'" 503 U.S., at 126 (quoting DeShaney v. Winnebago County
22
     Dept. of Social Servs., 489 U.S., at 196, in tum quoting Davidson v. Cannon, 474 U.S., at
23
     348).To this end, for half a century now we have spoken of the cognizable level of executive
24   abuse of power as that which shocks the conscience.We first put the test this way in Rochin
25   v. California, supra, at 172-173, where we found the forced pumping of a suspect1s stomach
26   enough to offend due process as conduct "that shocks the conscience" and violates the "decen­
     cies of civilized conduct". In the intervening *847 years we have repeatedly adhered to
27
     Rochin1 s benchmark. See, e.g., Breithaupt v. Abram, 352 U.S. 432, 435 (1957) (reiterating
28
                                             325
                             COMPLAINT - DEMAND FOR JURY TRIAL
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 1   that conduct that "shocked the conscience" and was so "brntal" and "offensive" that it did not
2    comport with traditional ideas of fair play and decency" would violate substantive due pro­

 3   cess); Whitley v. Albers, 475 U.S . 3 1 2, 327 ( 1986) (same); United States v. Salemo, 48 1 U.S.
     739, 746 ( 1 987) ("So-called "substantive due process" prevents the government from engag­
 4
     ing in conduct that "shocks the conscience", . . . or interferes with rights "implicit in the con­
 5
     cept of ordered liberty") (quoting Rochin v. California, supra, at 172, and Palko v. Connecti­
 6   cut, 302 U.S. 3 1 9, 325-326 ( 1937)). Most recently, in Collins v. Harker Heights, supra, at
 7   1 28, we said again that the substantive component of the Due Process Clause is violated by
 8   executive action only when it "can properly be characterized as arbitrary, or conscience
 9   shocking, in a constitutional sense." While the measure of what is conscience shocking is no
     calibrated yard stick, it does, as Judge Friendly put it, "poin[t] the way." Jolmson v. Glick,
10
     48 1 F.2d 1 028, 103 3 (CA2), cert. denied, 4 1 4 U.S. 1033 ( 1973).
11
12                   Meaningful Access to Court Is a Substantive Due Process Right

13
              505.    Right of Access to Court . . . "It is beyond dispute that the right of access to the
14   courts is a fundamental right protected by the Constitution." Graham v. National Collegiate
15   Athletic Ass'n, 804 F.2d 953, 959 (6th Cir. 1986). * 1262 In fact, the right of access to the
16   courts finds support in several provisions of the Constitution including: the Due Process
     Clause of the Fourteenth Amendment, Wolffv. McDonnell, 4 18 U.S . 539, 579 ( 1974), the
17
     Equal Protection Clause, Pennsylvania v. Finley, 48 1 U.S. 5 5 1, 557 ( 1987), the First Amend­
18
     ment, Turner v. Safley, 482 U.S. 78, 84 (1 987) (citing Johnson v. Avery, 393 U.S. 482
19
     (1 969)), and the Privileges and Immunities Clause of Article IV, see, e.g., Chambers v. Balti­
20   more Ohio R.R., 207 U.S. 142, 148 ( 1907); Smith v. Maschner, 899 F.2d 940, 947 (10th Cir.
21   1 990)
22            506.    . . .Is Not Just Physical Access. Access to courts does not only protect one's

23   right to physically enter the courthouse halls, but also ensures that the access to courts will be
     "adequate, effective and meaningful." Bounds v. Smith, 430 U.S. 8 1 7, 822 ( 1977). There­
24
     fore, if a party engages in actions that effectively cover-up evidence and this action renders a
25
     plaintiffs state court remedy ineffective, they have violated his right of access to the courts.
26   See Bell v. City of Milwaukee, 746 F.2d 1205, 126 1 (7th Cir. 1984) ("To deny such access
27   defendants need not literally bar the courthouse door or attack plaintiffs' witnesses.")
28
                                                         326
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 1           507.    The right of access to the comis is substantive rather than procedural. *347 Its
 2   exercise can be shaped and guided by the state, Bounds, 430 U.S. at 825, 97 S.Ct. at 1496, but

 3   cannot be obstructed, regardless of the procedural means applied. Johnson v. Avery, 393 U.S.
     483, 485, 89 S.Ct. 747, 748, 21 L.Ed.2d 718 (1969) ("[I]t is fundamental that access of prison­
 4
     ers to the courts for the purpose of presenting their complaints may not be denied or ob­
 5
     structed."); see Daniels v.Williams, 474 U.S. 327, _, 106 S.Ct. 662, 677, 8 8 L.Ed.2d 662
 6   (1986) (Stevens, J., concurring in the judgment) ("[I]f the Federal Constitution prohibits a
 7   State from taking certain action ' regardless of the fairness of the procedures used to imple­
 8   ment them,' the constitutional violation is complete as soon as the prohibited action is taken . .

 9   . .") (Citation omitted).
             508.    Moreover, as discussed above, the essence of the statute (18 U.S.C. § 1503
10
     known as the omnibus clause) is that it criminalizes conduct intended to deprive the fact­
11
     finder of relevant information. See United States v. Ashqar, 582 F.3d 819, 822- 23 (7th
12
     Cir.2009)." The act of destroying or concealing subpoenaed documents is "similar in nature,''
13   Haili v. United States, supra, 260 F.2d at 746, to the enumerated acts. The destruction or con­
14   cealment of subpoenaed documents results in the improper suppression of evidence, and thus
15   the influencing, obstructing and impeding of judicial proceedings, just as much as does the in­
     timidation of a witness. United States v. Walasek, 527 F.2d 676, 679 n. 11 (3d Cir. 1975).
16
             509.    Therefore, the act of evidence fabrication, destruction, mutilation, and conceal­
17
     ment as well as filing false declaration in the court's docket essentially obstruct a Plaintiff
18
     right to meaningful access to court to defend himself/herself against the Defendants' motion
19   for summary judgement. These types of overt acts violate the Plaintiffs Substantive Right to
20   Due Process.
21
                         Equal Protection Class of One Under the Fifth Amendment
22
23           510.    In Village ofWillowbrook v. Olech 528 U.S. 562 (2000), the United States Su­
     preme Court states. "Our cases have recognized successful equal protection claims brought by
24
     a "class of one," where the plaintiff alleges that she has been intentionally treated differ­
25
     ently from others similarly situated and that there is no rational basis for the difference
26   in treatment. See Sioux City Bridge Co. v. Dakota County, 260 U.S. 441 (1923); Allegheny
27   Pittsburgh Coal Co. v. Commission ofWebster Cty., 488 U.S. 336 (1989). In so doing, we
28
                                                  327
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 1   have explained that "[t]he purpose of the equal protection clause of the Fomieenth Amend­
 2   ment is to secure every person within the State's jurisdiction against intentional and arbitrary

 3   discrimination, whether occasioned by express terms of a statute or by its improper execution
     through duly constituted agents."' Sioux City Bridge Co., supra, at 445 (quoting Sunday Lake
 4
     Iron Co. v. Township of Wakefield, 247 U.S. 350, 352 (1918))".
 5
 6                             Causation Element Under a Biven Action Claim

 7          511.    "In a § 1983 action, the plaintiff must also demonstrate that the defendant's
 8   conduct was the actionable cause of the claimed injury." Harper v. City of Los Angeles, 533

 9   F.3d 1010, 1026 (9th Cir. 2008). "To meet this causation requirement, the plaintiff must es­
     tablish both causation-in fact and proximate causation." Id.
10
            512.    It is well settled that Bivens actions are simply the federal counterpart to §
11
     1983 claims brought against state officials, see Brown v. Philip Morris, Inc., 250 F.3d 789,
12
     800 (3d Cir. 2001), and because tort law causation analysis serves as the basis for determining
13
     causation in § 1983 actions, see Hector v. Watt, 235 F.3d 154, 160 (3d Cir. 2001) (citing
14   Hedges v. Musco, 204 F.3d 109, 121 (3d Cir. 2000)), tort law causation must govern our anal­
15   ysis of this Bivens claim. This standard of causation "closely resembles the standard 'foresee­
16   ability' formulation of proximate cause." Arnold v. Int'l Bus. Mach. Corp., 637 F.2d 1350,

17   1355 (9th Cir. 1981); see also Stevenson v. Koskey, 877 F.2d 1435, 1438 (9th Cir. 1989) (not­
     ing that federal courts turn to common law of torts for causation in civil rights cases).
18

19          513.    A person "subjects" another to the deprivation of a constitutional right, within
     the meaning of section 1983, if he does an affirmative act, participates in another's affamative
20
     acts, or omits to perform an act which he is legally required to do that causes the deprivation
21
     of which complaint is made. See Preschooler II v. Clark Cnty. Sch. Bd. of Trs., 479 F.3d
22   1175, 1183 (9th Cir. 2007) (quoting Johnson v. Duffy, 588 F.2d 740, 743 (9th Cir. 1978)).
23   Moreover, personal paiiicipation is not the only predicate for section 1983 liability. Anyone
24   who "causes" any citizen to be subjected to a constitutional deprivation is also liable. The req­

25   uisite causal connection can be established not only by some kind of direct personal participa­
     tion in the deprivation, but also by setting in motion a series of acts by others which the actor
26
     knows or reasonably should know would cause others to inflict the constitutional injury. 588
27
     F.2d 740, 743-44 (9th Cir.1978) (citation omitted).
28
                                             328
                             COMPLAINT - DEMAND FOR JURY TRIAL
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1           514.    A police officer need not have been the sole pmiy responsible for a constitu­
 2   tional violation before liability may attach. "An officer's liability under section 1983 is predi­

 3   cated on his ' integral participation' in the alleged violation." Blankenhom v. City of Orange,
     485 F.3d 463, 481 n.12 (9th Cir. 2007) (quoting Chuman v.Wright, 76 F.3d 292, 294-95 (9th
 4
     Cir. 1996)). This theory of liability "does not require that each officer's actions themselves
 5
     rise to the level of a constitutional violation." Id. (quoting Boyd v. Benton County, 374 F.3d
 6   773, 780 (9th Cir. 2004)). Instead, liability may attach if the officer has "some fundamental
 7   involvement in the conduct that allegedly caused the violation." Id. A theory of integral par­
 8   ticipation thus comports with general tmi principles of causation applicable to a § 1983 ac­

 9   tion: "[G]overnment officials, like other defendants, are generally responsible for the ' natural'
     or 'reasonably foreseeable' consequences of their actions." Stoot v. City of Everett, 582 F.3d
10
     910, 926 (9th Cir. 2009). See Preschooler II v. Clark Cty. Sch. Bd. of Trs., 479 F.3d 1175,
11
     1182 (9th Cir. 2007) (concluding that allegations that school officials knew of alleged viola­
12
     tion and failed to take corrective action were sufficient to state a claim); Harris v. Roderick,
13   126 F.3d 1189, 1204 (9th Cir. 1997) (concluding that allegations that FBI agents developed a
14   plan and then encouraged another agent to shoot a suspect were sufficient to state a claim);
15   Robins v. Meecham, 60 F.3d 1436, 1442 (9th Cir. 1995) (concluding that failure to intervene
     to stop alleged violation could be sufficient to establish liability); Redman v. Cty. of San Di­
16
     ego, 942 F.2d 1435, 1446-47 (9th Cir. 1991) (en bane) (concluding that lrnowledge of a pol­
17
     icy and practice of overcrowding that allegedly resulted in inmate's rape could be sufficient to
18
     establish liability), abrogated on other grounds by Farmer v. Brennan, 511 U.S. 825 (1994)
19
                             Chain of Causation and Intervening Force Analysis
20
            5 15.   In a Civil Rights conspiracy case, the injury and damage must flow from the
21
     overt acts ((United States v. Sarault, 840 F.2d 1479, 1487 (9th Cir. 1988) (holding that overt
22
     act need only be concrete step toward carrying out agreement, nor one that actually accom­
23   plishes goal of conspiracy); It can be a wholly innocent act in and of itself. See United States
24   v. Masiello, 491 F. Supp. 1154, 1164 (D. S.C. 1980)).
25
            5 16.   Where the gravamen of the injury complained of is commitment to an institu­
26
     tion by comi order, this order of the court, right or wrong, is ordinarily the proximate cause of
27   the injury. Various preliminary steps occur before the order is made. These preliminary steps
28
                                               329
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 1   may range from such matters as filing of petitions to the various clerical and procedural activ­
 2   ities which lead to the order. In the ordinary case, the order is made after a hearing in court or

 3   after consideration by the court of the supporting documents and evidence. Therefore, the var­
     ious preliminary steps would not cause damage unless they could be said to be the proximate
 4
     cause of the injury. In the usual case, the order of the court would be the proximate cause and
 5
     the various preliminary steps would be remote causes of any *247 injury from imprisonment
 6   or restraint under the court order. 268 F.2d at 296-97 (emphasis added). Over time, the law in
 7   this area has developed around the general principle that the decision of an independent inter­
 8   mediary "will only constitute an intervening cause if the decision is genuinely free from de­

 9   ception or coercion." Hector, 235 F.3d at 164 (citing cases from the Second, Fifth, Seventh,
     Eleventh, and D.C. Circuits) (Nygaard, J., concurring).
10

11          517.    In Egervaiy v. Young, we recognized that "the actions of a judicial officer may
12   sever the chain of causation" between the wrongful act of a party who appeared before the ju­

13   dicial officer and the harm that befell another as a result. Id. at 246. In Egervary, we distin­
     guished between a party's misrepresentations of law and misrepresentations of fact in deter­
14
     mining whether the chain of causation was broken 1 °5 . A judge's error of law is generally suffi­
15
     cient to sever the chain of causation, even if a pa1iy misrepresented the state of the law to the
16
     judge, because "it is axiomatic that, in any given case, the responsibility for determining the
17   governing law and procedures lies with the judge." Id. at 249. However, because a judge de­
18   pends on the party appearing before her to honestly state the facts relevant to the judge's deci­
19   sion, a judge's actions do not sever the chain of causation where the patiy makes "an inade­

20   quate or false representation of the factual basis upon which the legal ruling depended."

21
22

23
     1 05
         In Huynh v. Wal-Mart Stores, Inc. et al., the RICO Defendants were so desperate to get
24   Huynh's case againstWalmart dismissed in a clear, convincing, and powerful fashion in order
     to reinforce the "Get Out of Jail Free" Card they got from the SEC that they not only misrep­
25   resented the facts (engaging in evidence fabrication, destruction, mutilation, and concealment
26   as well as committing perjuries) and the misrepresented the laws (shotgun pleaded five frivo­
     lous and nefarious ADHD FERA claims to impose the McDonnel Douglas framework upon
27   Huynh's SOX claims against Walmart) but they also offered things of value (to be discov­
     ered during discovery) to District Judge Vince Chhabria and Magistrate Judge Sallie that
28   turned them into an instrument of oppression to serve in theWSF Coverup Enterprise.
                                                       330
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 1
2                The RICO Defendant Overt Acts and Proximate Cause to Huynh's Inj uries
 3
             5 1 8.   As discussed above, Theodore Boutros, Eugene Scalia, and Rachel Brass were
 4   at the top of the WSF Coverup Enterprise (they were the leaders of the Rescue Squad). They
 5   acted as the Walmart Participants ' trusted legal advisor to help develop strategies and tactics
 6   as well as overseeing the execution of the WSF Coverup Enterprise' illegal coverup scheme
 7   in order to achieve the RICO Enterprise' common purpose. In some instances, they directly
     involved in the day-to-day operation of the RICO Enterprise for example offering things of
 8
     value and/or improperly influence to the Federal Judges and Federal Officials due to their
 9
     connections and/or reputation in the legal communities to act in Walmart's favor. Below are
10
     overt acts perpetrated by these RICO Defendants to deprive Huynh to his claim to his lawsuit
11   against Walmart and his claim to his SEC Whistleblower Reward as afforded by the law.
12
      Violation of Huynh's Substantive Due Process Causing Injuries to Huynh's Properties
13
             5 1 9.   Jointly developed the "Truth on the Market" Defense with the Walmart Partici­
14
     pant then caused/directed the other RICO Defendants to operationalize them.
15
        A.     Caused Walmart's executives and others (Robert Ohmes and Matthew Boyle etc.) to
16             engage in the whitewashing campaign.
        B.     Ordered David deRubertis to exploit Huynh's 3/1 5/1 8 complaint as a platf01m to
17
               whitewash evidence of Walmart's misleading statements.
18      C.     Ordered the other RICO Defendants and/or their Co-conspirators e.g., PR agencies
               and journalists to execute the "Truth on the Market" Defense on 3/1 5 and 3/1 6/ 1 8.
19
        D.     Worked jointly with Orrick Herrington & Sutcliffe LLP, to jointly package factual
20             misrepresentations then presented them to the SEC in order to improperly influence
               the SEC to issue Walmart the non-enforcement letter on 4/2/1 9.
21
        E.     Developed the "Nuts & Sluts" strategy (prong #3 of the coverup plan) then ordered
22             others execute it to diminish Huynh' s credibility as a whistleblower.
23      F.     Upon infonnation and belief, these RICO Defendants leveraged the list of SEC wit­
               ness that David deRubertis leaked during the GO 7 1 disclosures to Walma1i to coach
24             and influence the testimonies of these witnesses to present factual misrepresenta­
               tions to the SEC.
25
26           520.     Jointly developed the strategy and execution plan for prong #3 with the
27   Walmart Participants to misrepresent the facts and the Laws to attempt to get Huynh's civil
28
                                                       331
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 1   case against Walmart dismissed in a clear, convincing, and powerful fashion. Then caused
 2   other to executed this plan.

 3
        A.      Directed David deRube1tis to shotgun pleaded the five frivolous and nefarious
 4              ADHD FEHA claims againstWalmart. Then get the other RICO Defendants to ex­
                ploit these claims to improperly gather Huynh's psychiatrist and personnel records
 5              then misrepresented the facts and laws (imposed the McDonnel Douglas framework
                to assess Huynh's SOX Claim.
 6
        B.      Developed the evidence fabrication, destruction, mutilation, and concealment cam­
 7              paign then caused the other RICO Defendants to execute this plan e.g., cause David
                and Kari deRubertis, Garen Nadir, Doug Kasales, and Kathy Vonlindem to destroy
 8              evidence the outlook appointment calendar of Huynh's meeting with Seth Beal on
 9              Oct 4 and 1 8, 20 1 6.
         C.    E-filed factual and legal misrepresentations in the United States Comt of Appeals
10             for the Ninth Circuit's Dockets (i.e., Walmart's answering brief) to support
11             Walmart's motion for summary judgement to com1ptly influence the denial of
               Huynh's appeal.
12
13            521 .   Offered Things of Value and/or Improperly Influenced District Judge Vince
     Chhabria and Magistrate Judge Sallie Kim to Tum them Into an Instrnments of Oppression.
14
        A.     Caused District Judge Vince Chhabria to never ruled on Huynh's motion for leave to
15             supplement to file material facts into the record in order to defend himself against
16             Walmart's motion for summary judgment.

17      B.      Caused District Judge Vince Chhabria to obstruct Huynh from filing his motion for
                reconsideration to appeal the dismissal of his complaint.
18
         C.     Caused District Vince Chhabria to immediately denied Huynh's motion for recon­
19              sideration without forcingWalmart to file an opposition brief within three days after
                Huynh filed his motion for reconsideration.
20
        D.      Caused District Judge Vince Chhabria to abruptly cancel the oral argument for sum­
21              mary judgement 2 days before the scheduled date.

22      E.      Caused District Judge Vince Chhabria to suppress material facts Huynh submitted in
                various court filings to rule that Huynh offered no evidence of pretext. For example,
23              District Vince Chhabria didn't consider the material facts that Walmart hired 1 0
                people right smack in the middle the purported Marketplace RIF. See DC Dkt 178.
24
        F.      Caused the United States Court of Appeals for the Ninth Circuit's merit panel to im­
25              pose the improper and burdensome McDonnel Douglas upon Huynh's SOX case
                then suppressed the material evidence Huynh filed in the record with the court below
26              to issue a one paragraph rnling to deny Huynh's appeal. See X.
27
28
                                               332
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 1           522.   Theodore Boutros, Eugene Scalia, and Rachel Brass conuptly influenced Dis­
 2   trict Judge Vince Chhabria to bypass the United States District Court of the Northern District

 3   of California's Local Rule on Moton Practice to deprive Huynh of his due process right.

 4      A.     Caused District Judge Vince Chhabria to bypass the Local Rules governing the Mo­
               tion Practice to never rule on Huynh's motion for leave to supplement to file mate­
 5             rial facts into the record to support the factual assertions in Huynh's opposite brief in
 6             order to defend himself against Walmart's motion for summary judgement.

 7      B.     Caused District Judge Vince Chhabria to bypass the Local Rules governing Motion
               Practice to deny Huynh's motion for reconsideration afforded under F.R.C.P Rule
 8
               59(e) within three days after it was filed without even requiring Walmart to file their
 9             opposition brief.
10
             523.   Theodore Boutros, Eugene Scalia, and Rachel Brass violated Huynh's constitu­
11
     tion right to equal protection under the Fifth Amendment by causing and/or directing District
12
     Judge Vince Chhabria to discriminate against Huynh for no rational basis except to serve as
13   an instrument of oppression to effectuate the WSF Coverup Enterprise's illegal coverup
14   scheme.
15
        A.     Caused District Judge Vince Chhabria to suppressed the material facts in the records
16
               which Huynh relied on to oppose Walma1i's motion for summary judgement. Dis­
17             trict Judge used the lack of evidence as an excuse to grant Walmart summary judge­
18             ment and dismissed all of Huynh's claim against Walmart. For example, District
19             Judge Vince Chhabria purported stated in his ruling "Indeed, Huynh has produced

20             zero evidence of pretext". See DC Dkt. 1 67 at 5

21      B.     Caused District Judge Vince Chhabria to deny Huynh's motion for reconsideration
22             to appeal District Judge Vince Chhabria entry of final judgement against Huynh
23             only three days after it was file for no rational basis. As a matter of fact, District
               Judge Vince Chabbria lied about the nature of Huynh's 1/1 9/20 letter (DC Dkt. 1 70)
24
               to deny Huynh's motion within going through the motion practice processed. Dis­
25
               trict Judge Vince Chhabria treated Huynh differently compare to similarly situated
26
               litigants that appear before his court.
27
28
                                                         333
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1            524.   The junior member of the Rescue Squad i.e., Chris Wilson, Ryan Stewart, and
2    Susanna Schuemann, participated in the operations of the Enterprise to execute some of the

3    overt acts as well as coordinating and supervising the other RICO Defendants to carry out the
     operations of theWSF Coverup Enterprise. Thus, the overt acts perpetrated by these Defend­
4
     ants were done to effectuate the strategy and implementation plans dictated by the leaders of
 5
     the Rescue Squad as well as that of theWalmart pmiicipant. Below are some key over acts
 6   (not exhaustive but more than enough for Huynh to prove the causation element of his Biven
 7   Actions) committed by these Defendants in furtherance of theWSF Coverup Enterprise' s ille­
 8   gal coverup scheme.

 9
             525.   For example, Ryan Stewart, ChrisWilson, and Susanna Schuemann directed
10   Renee Quezada at Lighthouse Global to fabricate Beal's 11/30/16 and RIF list, Melvenia Ha's
11   Oct 17 interview notes. They also coordinated and directed David and Kari deRubertis,
12   Garen Nadir, Doug Kasales, and Kathy Vonlindern to destroy Huynh's outlook calendar

13   meeting with Beal on Oct 4 and Oct 18 of 2016, mutilate the headers of Huynh's outlook
     emails, and shifted the time in Huynh's documents by 8 hours in order to obstruct Huynh
14
     from using this evidence to defending himself againstWalmmi's motion for summary judge­
15
     ment.
16
             526.   Ryan Stewart, ChrisWilson, and Susmma Schuemann also e-filed fabricated
17
     documents (e.g., Audrey Au fabricated investigation report which purportedly substantiate the
18
     false sexual harassment charges against Huynh) and false declarations (Beal 's and Ricetti
19
     false declaration that Huynh's role was eliminated when in facts it was not) to supported
20   Walmart's motion for summary judgement to give District Judge Vince Chhabria as an excuse
21   to dismiss Huynh's claim in a spectacular fashion.
22
             527.   The deRubertis Law Firm Participant i.e., David and Kari deRubertis, and
23
     Garen Nadir participated in the operations of the Enterprise by following the orders and direc­
24   tions of the Rescue Squad to committed overt acts to effectuate theWSF Coverup Enter­
25   prise's common purpose and in the process, they cause Huynh's injuries to his properties. Be­
26   low are some key over acts (even though they were not exhaustive they were enough for
     Huynh to prove the causation element of Huynh's Biven Action claim.
27

28
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 1       A.       As discussed in paragraph X, David deRubertis misrepresented the facts about the
                  $7 Mil customer return impact and the definition ofWalmmi's Marketplace to
 2
                  whitewash evidence of Walmart' s illegal conducts.
 3
         B.       David deRubertis delayed filing Huynh's complaint by 3 months to cause the other
 4                RJCO Defendants to coverupWalmart's inflation ofWalmart's Quarterly Ecom­
 5                merce Sales grow to obstruct the SEC investigation and influence the outcome of the
                  SEC investigation.
 6
         C.       David and Kari deRubertis, Garen Nadir, Doug Kasales, and Kathy Vonlindem en­
 7
                  gaged in evidence destruction and mutilation to prevent Huynh from using them to
 8                defend himself against Walmart.
 9       D.       David and Kari deRubertis leaked the list of SEC witnesses to the Rescue Squad
10                during the GO 71 disclosure to cause the other RICO Defendants to communicate
                  factual misrepresentations to the SEC to obstruct and/or influence the SEC to issue
11                the Get Out of Jail Free Card to Walma1t.
12
         E.       David deRubertis and Garen Nadir acted under the orders and directions of the Res­
13                cue Squad to intentionally omit system metadata fields from the Joint Stipulation
                  ESI Protocol order DC Dkt. 136 to obstruct Huynh from authenticating and im­
14
                  peaching Walmart' purported material facts (e.g., Beal's fabricated 11/30/16 and
15                RJF list and Melvenia Ha's fabricated Oct 17 interview note) to defend himself
                  againstWalmart's motion for summary judgement.
16
17            528.     In summary, David and Kari deRube1iis, Garen Nadir, Doug Kasales, and
     Kathy Vonlindem committed the over acts above to effectuate theWSF Coverup Enterprise
18
     but in the process, they caused injuries to Huynh's properties by violated Huynh's substantive
19
     due process right and equal protection right afforded by the Fifth Amendment of the US Con­
20
     stitution.
21
              529.     Walmart's Board of Directors e.g., Greg Penner, RobWatson, and Timothy
22
23   Flym1 knew aboutWSF Coverup Enterprise Plan (after Huynh emailed these Defendants on

24   Dec 13, 2018, Rachel Brand announced Jay Jorgensen's exit fromWalmart the very next day.

25   Subsequently, beginning in early 2019, theWalmart participants engaged in the reverse
26   whitewashing campaign). These Defendants caused injuries to Huynh's properties by not in­
27
     tervening to stop the other RJCO Defendants illegal acts. See Preschooler II v. Clark Cty.
28
                                                        335
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1    Sch. Bd. of Trs., 479 F.3d 1175, 1182 (9th Cir. 2007) (concluding that allegations that school
2    officials knew of alleged violation and failed to take corrective action were sufficient to state
3
     a claim); Robins v. Meecham, 60 F.3d 1436, 1442 (9th Cir. 1995) (concluding that failure to
4
     intervene to stop alleged violation could be sufficient to establish liability).
 5
6            530.    Similarly, the other Walmart Paiiicipants (i.e., Doug McMillion, Brett Biggs,
 7
     Marc Lore, Rachel Brand, Jeff Gerhart, Jay Jorgensen, Karen Roberts, Keny Kotous, and
 8
     Doe(s)) were the leaders of the WSF Coverup Enterprise. They jointly developed theWSF
 9
     Coverup Enterprise's illegal coverup scheme. As a matter of facts, Doug McMillon, Brett
10
     Biggs, and Marc Lore were also engaged in the whitewashing scheme to make factual misrep­
11
12   resentations to mislead the SEC and/or the DOI, Walmaii's investors, investment analysts, the

13   Media, politicians, and the America public in order to effectuate the RICO Enterprise's illegal
14   coverup scheme.
15

16           531.    As discussed above, the other RICO Defendants namely, the Unknown PR

17   Agencies (to be discovered during discovery), Matthew Boyle, Bloomberg News' Reporter.
18   Lighthouse Global (Renee Q, and Doe(s)), William Thompson (SEC officials), and Doe(s)
19
     were integral participants in the conspiracy with the other RICO Defendants to commit overt
20
     acts which they lmew or should have known will cause injuries to Huynh's properties.
21
22           532.    In summary, each of the RICO Defendant knowingly participated in a conspir-
23
     acy with federal officials and has engaged in overt acts, as described above in furtherance of
24
     the WSF Coverup Enterprise's illegal common purpose i.e., to concealWalmart's $140 Bil
25
     fraud against shareholders. As a foreseeable result of these overt acts, Huynh was injured in
26
     his properties which include but are not limited to the loss of Huynh's SEC Whistleblower
27

28
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1    award and the loss of Huynh's civil lawsuit against Walmart, Huynh's personal and profes­
2    sion reputation, and the costs to appeal District Judge Vince Chhabria's dismissal of Huynh's
 3
     complaint with the United States Comt of Appeals for the Ninth Circuit.
 4
 5            533.   Furthe1more, the overt acts committed by the RICO Defendants in fmtherance

 6   of the WSF Coverup Enterprise's common purpose, caused injuries to Huynh's constitutional
 7
     properties through the violations of Huynh's rights under the Fifth Amendment of the US
 8
     Constitution. Namely, The RICO Defendants robbed Huynh's right to procedural and substan­
 9
     tive due process and equal protection under law (class of one).
10
11
              534.   Further, as a direct and foreseeable result of the aforesaid acts of said Defend­
12
     ants, Plaintiff has suffered and will suffer harm for which Plaintiff is entitled to general and
13
     special damages and all appropriate compensatory relief.
14
15            535.   Defendants' conduct was a substantial factor in causing that harm. The above­
16
     described acts of Defendants, including by and through their managing agents, officers, or di­
17
     rectors, were engaged in with a deliberate, cold, callous, fraudulent, and intentional manner in
18
     order to injure and damage Plaintiff and/or with a conscious disregard of Plaintiff's rights.
19
20   Such acts were despicable and constitute malice, fraud, and/or oppression. Plaintiff requests

21   an assessment of punitive damages against Defendants in an amount to be assessed at time of

22   trial.
23

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 1                                     CLAIMS FOR RELIEF
                                  FOURTH CLAIM FOR RELIEF
 2                                (Violations of 42 U.S.C. § 1985(3))
 3                                  (Against All RICO Defendants)

 4
                              Framework to Evaluate a 42 U.S.C. 1985(3) Action
 5
             536.     Section 1 985(3) of the Civil Rights Act of 1964 provides a civil remedy
 6
     for conspiracies to interfere with constitutionally or federally protected rights when
 7
     motivated by invidiously discriminatory animus. See Griffin v. Breckenridge, 403 U.S.
 8
     88, 102-03 ( 1 97 1 ).
 9
             537.     Under Section 1 985(3), a plaintiff must show: ( 1 ) a conspiracy; (2) an act
10
     in furtherance of the conspiracy; (3) an intent to deprive any person of the equal protec­
11
     tion of, or equal privileges and immunities under, the law; and (4) a resulting injury to a
12   legal right or privilege. See Great American Federal Savings & Loan Assoc. v. Novotny,
13   442 U.S. 366, 373 ( 1979) (quoting Griffin v. Breckenridge, 403 U.S. at 102). See Sever
14   v. Alaska Pulp Corp., 978 F.2d 1529, 1 536 (9th Cir. 1 992) (citation omitted). A racial, or
15   perhaps otherwise class-based 106, invidiously discriminatory animus is an indispensable
     element of a section 1985(3) claim. Sprewell v. Golden State Warriors, 266 F.3d 979,
16
     989 (9th Cir. 2001) (quotations and citation omitted). A claim for violation of section
17
     1 985(3) requires the existence of a conspiracy and an act in furtherance of the conspiracy.
18
     Holgate v. Baldwin, 425 F.3d 67 1, 676 (9th Cir. 2005) (citing Sever v. Alaska Pulp
19   Corp., 978 F.2d 1 529, 1536 (9th Cir. 1992)). A mere allegation of conspiracy is insuffi­
20   cient to state a claim. Id. at 676-77
21
22   1 06
         In Village of Willowbrook v. Olech 528 U.S. 562 (2000), the Supreme Court wrote: "Our
23   cases have recognized successful equal protection claims brought by a "class of one," where
     the plaintiff alleges that she has been intentionally treated differently from others similarly sit­
24   uated and that there is no rational basis for the difference in treatment. See Sioux City Bridge
     Co. v. Dakota County, 260 U.S. 44 1 ( 1923); Alle-gheny Pittsburgh Coal Co. v. Commission
25   of Webster Cty., 488 U.S . 336 ( 1 989). In so doing, we have explained that "' [t]he purpose of
26   the equal protection clause of the Fourteenth Amendment is to secure every person within the
     State's jurisdiction against intentional and arbitrary discrimination, whether occasioned by ex­
27   press terms of a statute or by its improper execution through duly constituted agents."' Sioux
     City Bridge Co., supra, at 445 (quoting Sunday Lake Iron Co. v. Township of Wakefield, 247
28   p.s. 350, 352 ( 19 18))".
                                                        338
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 1          538.    Huynh realleges and incorporates herein by reference each and every fore­
2    going paragraph of this Amended Complaint as if set f01th in full. Specifically, this
 3
     claim incorporated all the factual allegations in claim No. 1 , No. 2, and No.3.
 4
 5          539.    As discussed in paragraph above, Huynh proved that the RICO Defendant
 6   entered into an implicit agreement to conspire to commit ove1i acts in furtherance of the
 7
     WSF Coverup Enterprise's illegal common purpose. Furthermore, these overt acts as
 8
     pleaded above caused (foreseeable that) the Rescue Squad, theWalmart participants, and
 9
     the other RICO Defendants to submit factual misrepresentations (e.g., fabrication, de­
10
11   struction, mutilation, concealment and filing false declarations, and evidence whitewash­

12   ing etc.) to the SEC and the United States District Court of the Northern District of Cali­

13   fornia). Ultimately these factual misrepresentations led the SEC to issueWalmart a "Get
14   Out of Jail" Fee card i.e., the SEC stopped their investigation intoWalmart's $140 Bil
15
     fraud against shareholders for no rational basis if not for the overt acts of each of these
16
     RICO Defendants. Additionally, the GDC Squad and theWalmart Participants submitted
17
     factual and legal misrepresentations in support toWalmart's motion for summary judge­
18
19   ment. Using these factual misrepresentations (evidence destruction, fabrication, mutila­

20   tion, and concealment as well as filing false declaration), the Rescue Squad and the

21   Walmart participants corruptly influence District Judge Vince Chhabria to discriminate
22
     against Huynh to dismiss Huynh's claims against Walmart. Subsequently, District Judge
23
     Vince Chhabria denied Huynh's motion for reconsideration within three days after it was
24
     filed by bypassing the United States District Court for the Northern District of California
25
     Local Rule 7-2 and 7-3 on motion practice. As discussed above, District Judge Vince
26
27   Chhabria treated other similarly situated litigants that appeared before him different than

28   �uynh. In short, if not for the overt acts of each of the RICO Defendants above, District
                                                        339
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 1   Judge Vince Chhabria would have not deprived Huynh of his right to Equal Protection
 2   under the class of one.
 3
 4          540.    The overt acts perpetrated by each and every member of the RICO De­

 5   fendants caused injuries to Huynh's constitutional prope1ties because these acts lead Dis­
 6   trict Vince Chhabria and the SEC to treat Huynh differently than others for no rational
 7
     basis. Therefore, these RICO Defendants violated Huynh's Fifth Amendment right to
 8
     equal protection under (class of one).
 9
10          541.     In summary, each of the RICO Defendant knowingly participated in a
11
     conspiracy among themselves and other Federal Officials and has engaged in overt acts,
12
     as described above in furtherance of theWSF Coverup Enterprise's illegal common pur­
13
     pose i.e., to conceal Walmart's $140 Bil fraud against shareholders. As a foreseeable re­
14
     sult of these overt acts, Huynh was injured in his properties which include but are not
15

16   limited to the loss of Huynh's SECWhistleblower award, the loss of Huynh's civil law­

17   suit againstWalmart, damage to Huynh's personal and profession reputation, and the
18   costs to Huynh in appealing District Judge Vince Chhabria's dismissal of his complaint
19
     with the United States Cowt of Appeals for the Ninth Circuit.
20
21          542.    Further, as a direct and foreseeable result of the aforesaid acts of said De­

22   fendants, Plaintiff has suffered and will suffer hann for which Plaintiff is entitled to gen­
23
     eral and special damages and all appropriate compensatory relief.
24
25          543.    Defendants' conduct was a substantial factor in causing that ham1. The

26   above-described acts of Defendants, including by and through their managing agents, of-
27
28
                                               340
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 1   ficers, or directors, were engaged in with a deliberate, cold, callous, fraudulent, and inten­
2    tional manner in order to injure and damage Plaintiff and/or with a conscious disregard of
 3
     Plaintiffs rights. Such acts were despicable and constitute malice, fraud, and/or oppres­
4
     sion. Plaintiff requests an assessment of punitive damages against Defendants in an
 5
     amount to be assessed at time of trial.
 6
 7
 8                                    CLAIMS FOR RELIEF
                                   FIFTH CLAIM FOR RELIEF
 9                                 (Violations of 42 U.S.C. § 1986)
                                     (Named RICO Defendants)
10
11
         42 U.S.C. § 1986 provides that:
12
        Every person who, having knowledge that any of the wrongs conspired to be done,
13      and mentioned in section 1985 of this title, are about to be committed, and having
        power to prevent or aid in preventing the commission of the same, neglects or refuses
14      so to do, if such wrongful act be committed, shall be liable to the party injured, or his
        legal representatives, for all damages caused by such wrongful act, which such person
15      by reasonable diligence could have prevented; and such damages may be recovered in
16      an action on the case. . . . 42 U.S.C.A. § 1986 (West 198 1). Thus, § 1986 constitutes
        an additional safeguard for those rights protected under 42 U.S.C. § 1985, and "trans­
17      gressions of § 1986 by definition depend on a preexisting violation of § 1985 . . .. "
        Rogin v. Bensalem Township, 6 16 F.2d 680, 696 (3d Cir. 1980), cert. denied, 450
18      U.S. 1029, 10 1 S.Ct. 1737, 68 L.Ed.2d 223 ( 198 1).
19      Additionally, a § 1986 plaintiff must show that: ( 1) the defendant had actual
        knowledge of a § 1985 conspiracy, (2) the defendant had the power to prevent or aid
20      in preventing the commission of a § 1985 violation, (3) the defendant neglected or re­
        fused to prevent a § 1985 conspiracy, and (4) a wrongful act was committed. See Pe­
21      rez v. Cucci, 725 F. Supp. 209, 254 (D.N.J. 1989) (citations omitted), affd, 898 F.2d
22      142 (3d Cir. 1990); Chester J. Antieau Gary E. * 1296 Bair, Federal Civil Rights Acts
        § 2 8 1 ( 1980 Supp. 1993).
23
24           544.   The "Name Defendants" in this cause of actions are those RICO Defend­
25   ants who acted at the supervisor level who knew the existence of the WSF Coverup En­
26
     terprise's illegal conducts scheme but failed to perfonn to fulfill their official duties to
27
     stop the Huynh's injuries. The Defendants for this cause of action are: Greg Penner, Rob
28
                                                        341
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 1   Watson, Timothy Flynn, Doug McMillion, Brett Biggs, Marc Lore, Rachel Brand, Jeff
2    Gerhait, Jay Jorgensen, Karen Robe1ts, Ke1Ty Kotous, Theodore Boutros, Eugene Scalia,
 3
     Rachel Brass, and David deRube1tis.
 4
 5          545.    Huynh realleges and incorporates herein by reference each and every fore­

 6   going paragraph of this Amended Complaint as if set fo1th in full. Specifically, this claim
 7
     is a derivative of the fourth claim.
 8

 9          546.    As discussed above, Huynh emailedWalmart's Board of Directors namely

10   Greg Penner, RobWatson, and Timothy Flynn on Dec 1 3, 2 1 08. Subsequently, Walmart
11
     Participants with the aid and assistance of the leaders of the Rescue Squad (Theodore
12
     Boutros, Eugene Scalia, and Rachel Brass) began a reverse whitewashing campaign to
13
     coverup the facts that the RICO Defendants engaged in the original whitewashing cam­
14
     paign to coverup Walmart's $ 1 40 Bil fraud against shareholder. Therefore, Greg Penner,
15

16   Rob Watson, Timothy Flynn, Doug McMillion, Brett Biggs, Marc Lore, Rachel Brand,

17   Jeff Gerhart, Jay Jorgensen, Karen Roberts, Kerry Kotous, Theodore Boutros, Eugene
18   Scalia, and Rachel Brass had knowledge about the conspiracy among the members of the
19
     WSF Coverup Enterprise to cause injuries to Huynh's prope1ties, and had the power to
20
     prevented from happening but refused to do so.
21
22          547.    In summary, the named RICO Defendants above, knew the existence of a
23
     conspiracy to cause injuries to Huynh in violation of 1 8 USC 1 985(3), had the power to
24
     stop the injuries but refused to do so. As a result of their inactions, Huynh suffered inju­
25
     ries to his property (through deprivation of Huynh's constitutional right to equal protec­
26
     tion (class of one) under law afforded by the Fifth Amendment of the US Constitution)
27
28   which included but not limited to the loss of Huynh's whistleblower award, the loss of
                                                     342
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 1   Huynh's civil lawsuit against Walmart, damaged to Huynh's personal and profession rep­
 2   utation, and the costs Huynh incuned to appeal District Judge Vince Chhabria' s dismissal
 3
     of his complaint against Walmart.
 4
 5           548.    Further, as a direct and foreseeable result of the aforesaid acts of said De­
 6   fendants, Plaintiff has suffered and will suffer harm for which Plaintiff is entitled to gen­
 7
     eral and special damages and all appropriate compensatory relief.
 8
 9           549.    Defendants' conduct was a substantial factor in causing that harm. The
10   above-described acts of Defendants, including by and through their managing agents, of­
11
     ficers, or directors, were engaged in with a deliberate, cold, callous, fraudulent, and inten­
12
     tional manner in order to injure and damage Plaintiff and/or with a conscious disregard of
13
     Plaintiffs rights. Such acts were despicable and constitute malice, fraud, and/or oppres­
14
     sion. Plaintiff requests an assessment of punitive damages against Defendants in an
15
16   amount to be assessed at time of trial.

17
18
19                                    CLAIMS FOR RELIEF
20                                 SIXTH CLAIM FOR RELIEF
                                         (Abuse of Process)
21                                      (Named Defendants)

22           550.    "[T]he essence of the tort of abuse of process [is] ... misuse of the power
23   of the court; it is an act done in the name of the court and under its authority for the pur­

24   pose of perpetrating an injustice. ' [Citation.]. The tort is defined in the restatement *876
     as follows: "One who uses a legal process . . . against another to accomplish a purpose for
25
     which it is not designed is liable to the other for the pecuniary loss caused thereby. "
26
     (Rest., Torts, § 682, p. 464; Spellens v. Spellens ( 1957) 49 Cal.2d 2 1 0, 23 1 [ 3 1 7 P.2d
27   6 1 3] ; Tranchina v. Arcinas ( 1947) 78 Cal.App.2d 522, 525 [ 1 78 P.2d 65].)
28
                                                         343
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 1          551.    To establish a cause of action for abuse of process, a plaintiff must plead
 2   two essential elements: that the defendant ( 1 ) entertained an ulterior motive in using the

 3   process and (2) committed a willful act in a wrongful maimer. (See Templeton Feed
     Grain v. Ralston Purina Co. (1 968) 69 Cal.2d 46 1 , 466 [ 72 Cal.Rptr. 344, 446 P.2d 1 52] ;
 4
     5 Witkin, Cal. Procedure (3d ed. 1 985) Pleading, § 709, p. 1 58.)
 5
 6          5 52.   For purposes of abuse of process, the ulterior motive to prove is that the
 7   party employing the process did so for an end not gennane thereto. (Debt Collection Tort

 8   Practice (Cont.Ed.Bar 1971) § 5.19, p. 1 29.) And, an improper purpose may consist in
     achievement of a benefit totally extraneous to or of a result not within its legitimate
 9
     scope. (Templeton Feed Grain v. Ralston Purina Co., supra, 69 Cal.2d at p. 466; Spellens
10
     v. Spellens, supra, 49 Cal.2d at p. 23 1.) A cause of action for abuse of process cannot be
11
     viable absent some haim to the plaintiff caused by the abuse of process. (Rest. 2d T01is §
12   682; CACI No. 1 520.) Thrivent argues that the "willful act in the use of the process not
13   proper in the regular conduct of the proceedings" (Rusheen, supra, 37 Cal.4th at pp.
14   1 056-1 057, 39 Cal.Rptr.3d 5 1 6, 128 P.3d 7 1 3)

15
            5 53.   The Named Defendants for this cause of action are: Doug McMillion,
16
     Brett Biggs, Marc Lore, Rachel Brand, Theodore Boutros, Eugene Scalia, Rachel Brass,
17
18   ChrisWilson, Ryan Stewart, Susanna Schuemann, and David deRubertis

19
            554.    Huynh realleges and incorporates herein by reference each and every fore­
20
     going paragraph of this Complaint as if set forth in full.
21
22
            5 55.   As discussed above, the RICO Defendants caused David deRubertis to
23
     shotgun pleaded five frivolous FEHA ADHD claims againstWalmart in Huynh's 3/ 1 5/ 1 8
24
     complaint in order to put Huynh's ADHD condition and Huynh's motive for engaging in
25
     protected conducts to abuse the discovery process to viciously go after Huynh's psychia­
26

27   trist and medical records, and Huynh's employment to execute the RICO Defendants'

28   '_'Nuts & Sluts" Defense strategy to discredit Huynh's credibility as a whistleblower. This
                                                      344
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 1   was one of the key factors that led the SEC to issueWalmart a Get Out of Jail Free Card.
 2   Additionally, using these frivolous claims the Rescue Squad and the Walmart Participants
 3
     misrepresented the facts and the laws in their court filings in suppo1t ofWalmait motion
 4
     for summary. Then corruptly influenced District Judge Vince Chhabria to dismiss
 5
     Huynh's lawsuit against Walmait in a such a clear, convincing and powerful fashion that
 6
 7   further misled the SEC and/or DOJ, Walmart's investors, investment analysts, the Media,

 8   politicians, and the American public to purportedly claimWalma1t's innocence with re­

 9   gard to Walmait's $140 Bil fraud against shareholders.
10
11          556.     In sh01t, the RICO Defendants, namely, Doug McMillion, Brett Biggs,

12   Marc Lore, Rachel Brand, Theodore Boutros, Eugene Scalia, Rachel Brass, ChrisWilson,

13   Ryan Stewait, Susanna Schuemann, and David deRubertis exploited the judicial process
14   in the Huynh vs.Wal-Mart Stores Inc. litigation for ulterior motives i.e., to obtain the
15
     "Get Out of Jail Free" Card, the "Civil Penalties Free" Card, and ensure a civil and crimi­
16
     nal risk-free future for all the RICO Defendants.
17
18          557.    In summary, the named RICO Defendants exploited the civil litigation
19
     process as an instrument of injustice and oppression to achieve their own personal benefit
20
     in order to effectuate theWSF Coverup Enterprise's illegal coverup scheme to cash in on
21
     the Billion-dollar bounty. As a foreseeable result of these actions, they caused injuries to
22
23   Huynh's properties which include but are not limited to the loss of Huynh's SECWhis­

24   tleblower award, the loss of Huynh's civil lawsuit againstWalmart, damaged to Huynh's

25   personal and profession reputation, and the costs to Huynh in appealing District Judge
26   Vince Chhabria's dismissal of his complaint with the United States Court of Appeals for
27
     the Ninth Circuit.
28
                                              345
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 1          558.    Further, these injuries to Huynh were a direct, proximate, and reasonably
 2   foreseeable result of the named Defendants in violation of California abuse of process
 3
     provision, Huynh is the ultimate victim of the named RICO Defendants. Huynh has been
 4
     and will continue to be injured in his properties in an amount to be determined at trial.
 5
 6          559.    As a direct and foreseeable result of the aforesaid acts of said Defendants,
 7
     Plaintiff has suffered and will suffer haim for which Plaintiff is entitled to general and
 8
     special damages and all appropriate compensatory relief.
 9

10          560.    Defendants' conduct was a substantial factor in causing that harm. The
11
     above-described acts of Defendants, including by and through their managing agents, of-
12
     ficers, or directors, were engaged in with a deliberate, cold, callous, fraudulent, and inten­
13
     tional manner in order to injure and damage Plaintiff and/or with a conscious disregard of
14
     Plaintiffs rights. Such acts were despicable and constitute malice, fraud, and/or oppres­
15

16   sion within the meaning of Civil Code section 3294. Plaintiff requests an assessment of

17   punitive damages against Defendants in an amount to be assessed at time of trial.
18

19                                  CLAIMS FOR RELIEF
20                              SEVENTH CLAIM FOR RELIEF
                                     (Invasion of Privacy)
21                                 (Named RICO Defendants)

22
                                         Invasion of Privacy
23
            561.    Article I, section 1, of the California Constitution provides: "All people
24   are by nature free and independent and have inalienable rights. Among these *842 are en­
25   joying and defending life and liberty, acquiring, possessing, and protecting property, and
26   pursuing and obtaining safety, happiness, and privacy." The reference to privacy was

27   added in 1972 and amended in 197 4 to read as stated.

28          562.    The "zones of privacy" created by aiticle I, section 1, extend to the details
                                                    346
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 1   of one's medical history. (Jones v. Superior Comt (1981) 119 Cal.App.3d 534, 548-550 [
 2   174 Cal.Rptr. 148].) And, an "individual's right to privacy encompasses not only the state

 3   of his mind, but also his viscera, detailed complaints of physical ills, and their emotional
     overtones." (Board of Medical Quality Assurance v. Gherardini (1979) 93 Cal.App.3d
 4
     669, 679 [ 156 Cal.Rptr. 5 5].) Most recently, the California Supreme Court has stated:
 5
     "[�] If there is a quintessential zone of human privacy it is the mind. Our ability to ex­
 6   clude others from our mental processes is intrinsic to the human personality." (Long
 7   Beach City *843 Employees Assn. v. City of Long Beach (1986) 41 Cal.3d 937, 944, fn.
 8   omitted [ 227 Cal.Rptr. 90, 719 P.2d 660].)

 9           563.   "[A] plaintiff alleging an invasion of privacy in violation of the state con­
10   stitutional right to privacy must establish each of the following: (1) a legally protected

11   privacy interest; (2) a reasonable expectation of privacy in the circumstances; and (3)
     conduct by the defendant constituting a serious invasion of privacy." (7 Cal.4th at pp. 39-
12
     40.).
13
             564.   Element No. 1 : It is undisputed that a Plaintiff has a legally protected pri­
14
     vacy interest in his/her mental health records. 1 07 (Pettus v. Cole (1996) 49 Cal.App.4th
15
     402, 440 [ 57 Cal.Rptr.2d 46]; Cutter v. Brownbridge (1986) 183 Cal.App.3d 836, 842 [
16
     228 Cal.Rptr. 545] and cases cited therein. A stranger's unauthorized reading and dis­
17   semination of a person's mental health records is a serious invasion of the person's pri­
18   vacy. (Cf. Pettus v. Cole, supra, 49 Cal.App.4th at p. 445.) "Because of the sensitive na­
19   ture of the problems for which individuals consult psychotherapists, disclosure of confi­

20   dential communications made during counseling sessions may cause embarrassment or
     disgrace.
21
22           565.   Element No. 2: The necessity in judicial proceedings for ascertaining the
     truth is sufficiently compelling to justify disclosure of constitutionally protected infor­
23
     mation when narrowly limited to infonnation directly relevant to the issues (In re
24
25   1 07 As the United States Supreme Court recognized in Jaffee v. Redmond (1996) _ U.S.
26   _, _ [ 116 S.Ct. 1923, 1928, 135 L.Ed.2d 337]. The federal privilege, which clearly ap­
     plies to psychiatrists and psychologists, also extends to confidential communications made to
27   licensed social workers in the course of psychotherapy The reasons for recognizing the privi­
     lege for treatment by psychiatrists and psychologists apply with equal force to clinical social
28   y.rorkers, and the vast majority of States explicitly extend a testimonial privilege to them.
                                                         347
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 1   Lifschutz, supra, 2 Cal.3d at p. 43 5) and when good cause and materiality to the action
2    establish that the need for disclosure outweighs the right to privacy. (Board of Medical

 3   Quality Assurance v. Gherardini, supra, 93 Cal.App.3d 669, 679.) Although a patient has
     a constitutionally protected interest in information contained in his or her medical, psy­
4
     chiatrists', and psychologists' files, disclosure may be appropriate in natTowly limited
 5
     circumstances to serve a compelling interest. (Board of Medical Quality Assurance v.
 6   Gherardini, supra, 93 Cal.App.3 d 669, 680-68 1; Jones v. Superior Court, supra, 1 19
 7   Cal.App.3d 534, 550.). Per the case law below, neither David deRubertis nor the GDC
 8   squad and Walmart had the right to obtain Huynh's record dating back to a quarter center

 9   ago.

10           566.    In the context of discovery of confidential information in personnel files,

11   even when such infonnation is directly relevant to litigation, discovery will not be per­
     mitted until a balancing of the compelling need for discovery against the fundamental
12
     right of privacy determines that disclosure is appropriate. (Board of Trustees v. Superior
13
     Court ( 198 1) 1 19 Cal.App.3d 5 16, 525 [ 174 Cal.Rptr. 160].) And, even when the bal­
14   ance tips in favor of disclosure, constitutional concerns require a strict circumscription of
15   the scope of the disclosure. (Id., at p. 526.).
16           567.    In short, the case laws above stated that 1) Huynh's psychiatrist records,
17   medical records and personnel files are protected from disclosure under the California
18   Constitution right to privacy and 2) Huynh only waived his constitutional right to privacy
19   to keep his psychiatrist and medical records and personnel shield from disclosure only if
     he put his medical conditional (ADHD FERA related disability claims) and his motives
20
     engaging in protected activities (ADHD FERA discrimination and retaliation employ­
21
     ment claims) at the center of his lawsuits against Walmart.
22
             568.    The Named Defendants for this cause of action are: Doug McMillion,
23
     Brett Biggs, Marc Lore, Rachel Brand, Theodore Boutros, Eugene Scalia, Rachel Brass,
24
25   Chris Wilson, Ryan Stewart, Susanna Schuemann, Kari deRubertis, David deRubertis,

26   Doug Kasales, and Kath Von Lindern.
27
28
                                                       348
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 1          569.    Huynh realleges and incorporates herein by reference each and every fore­
 2   going paragraph of this Complaint as if set forth in full.
 3
 4          570.    As discussed above, the Rescue Squad ordered David deRubertis to shot­

 5   gun pleaded five nefarious and frivolous ADHD PEHA claims even though Huynh told
 6   David deRubertis that his SOX retaliation claim againstWalmart was open and shut. If
 7
     not for the named RICO Defendants' action, the GDC Squad and David deRubertis
 8
     would not have been able to invade Huynh's right to constitutional privacy by going after
 9
     Huynh's psychiah·ist records, medical records, and personnel file viciously to effectuate
10
11   prong #2 and #3 of theWSF Coverup Enterprise' illegal coverup scheme. Most disturb­

12   ingly, David and Kari deRubertis falsified Huynh's signature to obtain his psychiatrist

13   records then produced them under the table without the confidential designation for no
14   rational basis except the effectuate prong #2 and #3 of the illegal coverup scheme.
15
16          571.     In summary, the analysis above proved that Doug McMillion, Brett

17   Biggs, Marc Lore, Rachel Brand, Theodore Boutros, Eugene Scalia, Rachel Brass, Chris
18   Wilson, Ryan Stewart, Susanna Schuemann, Kari deRubertis, David deRubertis, Doug
19
     Kasales, and Kath Von Lindern violated Huynh's right to constitutional privacy which
20
     cause injuries to Huynh's properties which include but not limited the loss of Huynh's
21
     SECWhistleblower award, the loss of Huynh's civil lawsuit againstWalmart, damaged
22
23   to Huynh's personal and profession reputation, and the costs for Huynh in appealing Dis­

24   trict Judge Vince Chhabria's dismissal of his complaint with the United States Court of

25   Appeals for the Ninth Circuit.
26
            572.    As a direct and foreseeable result of the aforesaid acts of said Defendants,
27

28   Plaintiff has suffered and will suffer hann for which Plaintiff is entitled to general and
                                                      349
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1    special damages and all appropriate compensatory relief.
2
            573.    Defendants' conduct was a substantial factor in causing that hann. The
 3
 4   above-described acts of Defendants, including by and through their managing agents, of­

 5   ficers, or directors, were engaged in with a deliberate, cold, callous, fraudulent, and inten­
 6   tional manner in order to injure and damage Plaintiff and/or with a conscious disregard of
 7
     Plaintiffs rights. Such acts were despicable and constitute malice, fraud, and/or oppres­
 8
     sion within the meaning of Civil Code section 3294. Plaintiff requests an assessment of
 9
     punitive damages against Defendants in an amount to be assessed at time of trial.
10
11
                                     CLAIMS FOR RELIEF
12                                EIGHT CLAIM FOR RELIEF
                                             (Fraud)
13                                    (All RICO Defendants)

14
            574.    Huynh realleges and incorporates herein by reference each and every fore-
15
16   going paragraph of this Complaint as if set forth in full.

17
            575.    Defendants and their agents have knowingly filed fabricated, mutilated ev­
18
     idence and false declarations as well as submitting factual and legal misrepresentation in
19
20   their court filings with both the United States District Court of Northern California and

21   the United States Court of Appeals for the Ninth Circuit. Additionally, the RICO Defend­

22   ants engaged in a criminal whitewash campaign to erase evidence of Walmart's fraud
23   against shareholders then engaged in the purported "True on the Market" Defense to mis­
24
     lead the SEC and/or DOJ, Walmart's shareholders, investment analysts, the media, politi­
25
     cians, and the American public into believing thatWalmart was innocent of committing
26
     fraud against shareholders to the tune of $140 Bil. Each and every Defendant has person­
27
28   ally engaged in this conduct, or knew or should have known that other Defendants were
                                               350
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 1   engaged in it on his or her behalf. These false representations are detailed throughout this
 2   Complaint and include the evidence fabrication, evidence destruction, misrepresentations
 3
     in Robert Ohmes' investment reports and in numerous Bloomberg News article published
 4
     by Matthew Boyle.
 5

 6          576.    Defendants made these false representations while knowing that their mis­
 7
     representations were materially false and/or that their omissions were material. Defend­
 8
     ants further made these misrepresentations, half-truth statements and/or omissions with
 9
     the intent of getting the SEC and/or the DOJ to issue them the non-enforcement letter and
10
11   to get District Judge Chabbria to dismiss all of Huynh's claims against Walmart.

12
            577.    These material misrepresentations and/or omissions have been reasonably
13
     and justifiably relied upon by Huynh, the U.S. courts, state and federal government agen­
14
     cies officials e.g., the SEC and/or the DOJ, Walmart's shareholders, investors, analysts,
15
16   and the media by means of its acceptance of Defendants' misrepresentations and omis­

17   sions and their failure to take meaningful corrective action.
18
            578.    As a direct, proximate, and foreseeable result of Defendants' fraud, Huynh
19
20   has been harmed, including but not limited to the loss of 1) Huynh's claim to his SEC

21   Whistleblower award, 2) Huynh's claim to his lawsuit againstWalmart, 3) damaged to

22   Huynh's personal and professional reputation and good name, and 4) costs to appeal Dis­
23
     h·ict Judge Vince Chhabria's dismissal of Huynh's Lawsuit.
24
25          579.    As a direct and foreseeable result of the aforesaid acts of said Defendants,

26   Plaintiff has suffered and will suffer ham1 for which Plaintiff is entitled to general and
27   special damages and all appropriate compensatory relief.
28
                                                       35 1
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1           580.    Defendants' conduct was a substantial factor in causing that harm. The
2    above-described acts of Defendants, including by and through their managing agents, of­
3
     ficers, or directors, were engaged in with a deliberate, cold, callous, fraudulent, and inten­
4
     tional manner in order to injure and damage Plaintiff and/or with a conscious disregard of
 5
     Plaintiffs rights. Such acts were despicable and constitute malice, fraud, and/or oppres­
 6
 7   sion within the meaning of Civil Code section 3294. Plaintiff requests an assessment of

 8   punitive damages against Defendants in an amount to be assessed at time of trial.

 9
                                     CLAIMS FOR RELIEF
10                                NINTH CLAIM FOR RELIEF
                                        (Civil Conspiracy)
11
                                      (All RICO Defendants)
12
13           581.   Huynh realleges and incorporates herein by reference each and every fore­

14   going paragraph of this Amended Complaint as if set forth in full.
15
16           582.   As set fo1th above, Defendants have committed torts against Huynh, in-

17   eluding acts of racketeering giving rise to violations of RICO, Biven Action, 18 USC

18   1985(3), 18 USC 1986, abuse of process, invasion of privacy, and fraud.
19
             583.   Defendants agreed to participate in a common scheme against Huynh. De­
20

21   fendants intentionally paiticipated in the furtherance ofWSF Coverup Enterprise's illegal

22   coverup scheme in order to achieve the criminal enterprise common purpose to conceal
23   Walmart's $140 Bil fraud against shareholders. This action caused direct injuries to
24
     Huynh's property. In furtherance of this plan or purpose, Defendants committed overt
25
     and unlawful acts, including acts of racketeering as alleged herein.
26

27           584.   As a direct, proximate, and foreseeable result of Defendants' fraud, Huynh
28
                                               352
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 1   has been harmed, including but not limited to the loss of 1 ) Huynh's claim to his SEC
 2   Whistleblower award, 2) Huynh's claim to his lawsuit against Walmaii, 3) dam-aged to
 3
     Huynh's personal and professional reputation and good name, and 4) costs to appeal Dis­
 4
     trict Judge Vince Chhabria's dismissal of Huynh's Lawsuit
 5
 6          585.    As a direct and foreseeable result of the aforesaid acts of said Defendants,
 7
     Plaintiff has suffered and will suffer harm for which Plaintiff is entitled to general and
 8
     special damages and all appropriate compensatory relief.
 9

10          586.    Defendants' conduct was a substantial factor in causing that harm. The
11
     above-described acts of Defendants, including by and through their managing agents, of­
12
     ficers, or directors, were engaged in with a deliberate, cold, callous, fraudulent, and inten­
13
     tional manner in order to injure and damage Plaintiff and/or with a conscious disregard of
14
     Plaintiffs rights. Such acts were despicable and constitute malice, fraud, and/or oppres­
15

16   sion within the meaning of Civil Code section 3294. Plaintiff requests an assessment of

17   punitive damages against Defendants in an amount to be assessed at time of trial.
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